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               ORAL ARGUMENT NOT YET SCHEDULED

                                 No. 23-7061


                In the United States Court of Appeals
                 for the District of Columbia Circuit


                           ANDREW HANSON, ET AL.,

                                                Plaintiffs-Appellants,

                                       v.

                      THE DISTRICT OF COLUMBIA, ET AL.,
                                               Defendants-Appellees,


     INITIAL BRIEF OF APPELLANTS – AMENDED ADDENDUM


                On Appeal from the United States District Court
              for the District of Columbia (No. 1:22-Cv-02256-Rc)


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              Current through Public Law 118-13, approved August 7, 2023.
United States Code Service > TITLE 18. CRIMES AND CRIMINAL PROCEDURE (§§ 1 — 6005) > Part I.
Crimes (Chs. 1 — 123) > CHAPTER 44. Firearms (§§ 921 — 934)



§ 922. Unlawful acts [Caution: See prospective amendment note below.]


      (a) It shall be unlawful—
         (1) for any person—
             (A) except a licensed importer, licensed manufacturer, or licensed dealer, to
             engage in the business of importing, manufacturing, or dealing in firearms, or
             in the course of such business to ship, transport, or receive any firearm in
             interstate or foreign commerce; or
             (B) except a licensed importer or licensed manufacturer, to engage in the
             business of importing or manufacturing ammunition, or in the course of such
             business, to ship, transport, or receive any ammunition in interstate or foreign
             commerce;
         (2) for any importer, manufacturer, dealer, or collector licensed under the
         provisions of this chapter [18 USCS §§ 921 et seq.] to ship or transport in
         interstate or foreign commerce any firearm to any person other than a licensed
         importer, licensed manufacturer, licensed dealer, or licensed collector, except
         that—
             (A) this paragraph and subsection (b)(3) shall not be held to preclude a
             licensed importer, licensed manufacturer, licensed dealer, or licensed collector
             from returning a firearm or replacement firearm of the same kind and type to
             a person from whom it was received; and this paragraph shall not be held to
             preclude an individual from mailing a firearm owned in compliance with
             Federal, State, and local law to a licensed importer, licensed manufacturer,
             licensed dealer, or licensed collector;
             (B) this paragraph shall not be held to preclude a licensed importer, licensed
             manufacturer, or licensed dealer from depositing a firearm for conveyance in
             the mails to any officer, employee, agent, or watchman who, pursuant to the
             provisions of section 1715 of this title [18 USCS § 1715], is eligible to receive
             through the mails pistols, revolvers, and other firearms capable of being
             concealed on the person, for use in connection with his official duty; and

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        (C) nothing in this paragraph shall be construed as applying in any manner in
        the District of Columbia, the Commonwealth of Puerto Rico, or any
        possession of the United States differently than it would apply if the District
        of Columbia, the Commonwealth of Puerto Rico, or the possession were in
        fact a State of the United States;
     (3) for any person other than a licensed importer, licensed manufacturer,
     licensed dealer, or licensed collector to transport into or receive in the State
     where he resides (or if the person is a corporation or other business entity, the
     State where it maintains a place of business) any firearm purchased or otherwise
     obtained by such person outside that State, except that this paragraph (A) shall
     not preclude any person who lawfully acquires a firearm by bequest or intestate
     succession in a State other than his State of residence from transporting the
     firearm into or receiving it in that State, if it is lawful for such person to purchase
     or possess such firearm in that State, (B) shall not apply to the transportation or
     receipt of a firearm obtained in conformity with subsection (b)(3) of this section,
     and (C) shall not apply to the transportation of any firearm acquired in any State
     prior to the effective date of this chapter [effective Dec. 16, 1968];
     (4) for any person, other than a licensed importer, licensed manufacturer,
     licensed dealer, or licensed collector, to transport in interstate or foreign
     commerce any destructive device, machinegun (as defined in section 5845 of the
     Internal Revenue Code of 1954 [1986] [26 USCS § 5845]), short-barreled
     shotgun, or short-barreled rifle, except as specifically authorized by the Attorney
     General consistent with public safety and necessity;
     (5) for any person (other than a licensed importer, licensed manufacturer,
     licensed dealer, or licensed collector) to transfer, sell, trade, give, transport, or
     deliver any firearm to any person (other than a licensed importer, licensed
     manufacturer, licensed dealer, or licensed collector) who the transferor knows or
     has reasonable cause to believe does not reside in (or if the person is a
     corporation or other business entity, does not maintain a place of business in) the
     State in which the transferor resides; except that this paragraph shall not apply to
     (A) the transfer, transportation, or delivery of a firearm made to carry out a
     bequest of a firearm to, or an acquisition by intestate succession of a firearm by,
     a person who is permitted to acquire or possess a firearm under the laws of the
     State of his residence, and (B) the loan or rental of a firearm to any person for
     temporary use for lawful sporting purposes;
     (6) for any person in connection with the acquisition or attempted acquisition of
     any firearm or ammunition from a licensed importer, licensed manufacturer,
     licensed dealer, or licensed collector, knowingly to make any false or fictitious
     oral or written statement or to furnish or exhibit any false, fictitious, or
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     misrepresented identification, intended or likely to deceive such importer,
     manufacturer, dealer, or collector with respect to any fact material to the
     lawfulness of the sale or other disposition of such firearm or ammunition under
     the provisions of this chapter [18 USCS §§ 921 et seq.];
     (7) for any person to manufacture or import armor piercing ammunition,
     unless—
        (A) the manufacture of such ammunition is for the use of the United States,
        any department or agency of the United States, any State, or any department,
        agency, or political subdivision of a State;
        (B) the manufacture of such ammunition is for the purpose of exportation; or
        (C) the manufacture or importation of such ammunition is for the purpose of
        testing or experimentation and has been authorized by the Attorney General;
     (8) for any manufacturer or importer to sell or deliver armor piercing
     ammunition, unless such sale or delivery—
        (A) is for the use of the United States, any department or agency of the
        United States, any State, or any department, agency, or political subdivision
        of a State;
        (B) is for the purpose of exportation; or
        (C) is for the purpose of testing or experimentation and has been authorized
        by the Attorney General; [and]
     (9) for any person, other than a licensed importer, licensed manufacturer,
     licensed dealer, or licensed collector, who does not reside in any State to receive
     any firearms unless such receipt is for lawful sporting purposes.
  (b) It shall be unlawful for any licensed importer, licensed manufacturer, licensed
  dealer, or licensed collector to sell or deliver—
     (1) any firearm or ammunition to any individual who the licensee knows or has
     reasonable cause to believe is less than eighteen years of age, and, if the firearm,
     or ammunition is other than a shotgun or rifle, or ammunition for a shotgun or
     rifle, to any individual who the licensee knows or has reasonable cause to believe
     is less than twenty-one years of age;
     (2) any firearm to any person in any State where the purchase or possession by
     such person of such firearm would be in violation of any State law or any
     published ordinance applicable at the place of sale, delivery or other disposition,
     unless the licensee knows or has reasonable cause to believe that the purchase or
     possession would not be in violation of such State law or such published
     ordinance;

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     (3) any firearm to any person who the licensee knows or has reasonable cause to
     believe does not reside in (or if the person is a corporation or other business
     entity, does not maintain a place of business in) the State in which the licensee’s
     place of business is located, except that this paragraph (A) shall not apply to the
     sale or delivery of any rifle or shotgun to a resident of a State other than a State
     in which the licensee’s place of business is located if the transferee meets in
     person with the transferor to accomplish the transfer, and the sale, delivery, and
     receipt fully comply with the legal conditions of sale in both such States (and any
     licensed manufacturer, importer or dealer shall be presumed, for purposes of this
     subparagraph, in the absence of evidence to the contrary, to have had actual
     knowledge of the State laws and published ordinances of both States), and (B)
     shall not apply to the loan or rental of a firearm to any person for temporary use
     for lawful sporting purposes;
     (4) to any person any destructive device, machinegun (as defined in section 5845
     of the Internal Revenue Code of 1954 [1986] [26 USCS § 5845]), short-barreled
     shotgun, or short-barreled rifle, except as specifically authorized by the Attorney
     General consistent with public safety and necessity; and
     (5) any firearm or armor-piercing ammunition to any person unless the licensee
     notes in his records, required to be kept pursuant to section 923 of this chapter
     [18 USCS § 923], the name, age, and place of residence of such person if the
     person is an individual, or the identity and principal and local places of business
     of such person if the person is a corporation or other business entity.
  Paragraphs (1), (2), (3), and (4) of this subsection shall not apply to transactions
  between licensed importers, licensed manufacturers, licensed dealers, and licensed
  collectors. Paragraph (4) of this subsection shall not apply to a sale or delivery to
  any research organization designated by the Attorney General.
  (c) In any case not otherwise prohibited by this chapter [18 USCS §§ 921 et seq.], a
  licensed importer, licensed manufacturer, or licensed dealer may sell a firearm to a
  person who does not appear in person at the licensee’s business premises (other than
  another licensed importer, manufacturer, or dealer) only if—
     (1) the transferee submits to the transferor a sworn statement in the following
     form:
        Subject to penalties provided by law, I swear that, in the case of any firearm
        other than a shotgun or a rifle, I am twenty-one years or more of age, or that,
        in the case of a shotgun or a rifle, I am eighteen years or more of age; that I
        am not prohibited by the provisions of chapter 44 of title 18, United States
        Code [18 USCS §§ 921 et seq.], from receiving a firearm in interstate or
        foreign commerce; and that my receipt of this firearm will not be in violation

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        of any statute of the State and published ordinance applicable to the locality in
        which I reside. Further, the true title, name, and address of the principal law
        enforcement officer of the locality to which the firearm will be delivered are
        .....................................................
        Signature.................................. Date...................
     and containing blank spaces for the attachment of a true copy of any permit or
     other information required pursuant to such statute or published ordinance;
     (2) the transferor has, prior to the shipment or delivery of the firearm, forwarded
     by registered or certified mail (return receipt requested) a copy of the sworn
     statement, together with a description of the firearm, in a form prescribed by the
     Attorney General, to the chief law enforcement officer of the transferee’s place
     of residence, and has received a return receipt evidencing delivery of the
     statement or has had the statement returned due to the refusal of the named
     addressee to accept such letter in accordance with United States Post Office
     Department [United States Postal Service] regulations; and
     (3) the transferor has delayed shipment or delivery for a period of at least seven
     days following receipt of the notification of the acceptance or refusal of delivery
     of the statement.
  A copy of the sworn statement and a copy of the notification to the local law
  enforcement officer, together with evidence of receipt or rejection of that
  notification shall be retained by the licensee as a part of the records required to be
  kept under section 923(g) [18 USCS § 923(g)].
  (d) It shall be unlawful for any person to sell or otherwise dispose of any firearm or
  ammunition to any person knowing or having reasonable cause to believe that such
  person, including as a juvenile—
     (1) is under indictment for, or has been convicted in any court of, a crime
     punishable by imprisonment for a term exceeding one year;
     (2) is a fugitive from justice;
     (3) is an unlawful user of or addicted to any controlled substance (as defined in
     section 102 of the Controlled Substances Act (21 U.S.C. 802));
     (4) has been adjudicated as a mental defective or has been committed to any
     mental institution at 16 years of age or older;
     (5) who, being an alien—
        (A) is illegally or unlawfully in the United States; or



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        (B) except as provided in subsection (y)(2), has been admitted to the United
        States under a nonimmigrant visa (as that term is defined in section
        101(a)(26) of the Immigration and Nationality Act (8 U.S.C. 1101(a)(26)));
     (6) [who] has been discharged from the Armed Forces under dishonorable
     conditions;
     (7) who, having been a citizen of the United States, has renounced his
     citizenship;
     (8) is subject to a court order that restrains such person from harassing, stalking,
     or threatening an intimate partner of such person or child of such intimate partner
     or person, or engaging in other conduct that would place an intimate partner in
     reasonable fear of bodily injury to the partner or child, except that this paragraph
     shall only apply to a court order that—
        (A) was issued after a hearing of which such person received actual notice,
        and at which such person had the opportunity to participate; and
        (B)
           (i) includes a finding that such person represents a credible threat to the
           physical safety of such intimate partner or child; or
           (ii) by its terms explicitly prohibits the use, attempted use, or threatened
           use of physical force against such intimate partner or child that would
           reasonably be expected to cause bodily injury;
     (9) has been convicted in any court of a misdemeanor crime of domestic
     violence;
     (10) intends to sell or otherwise dispose of the firearm or ammunition in
     furtherance of a felony, a Federal crime of terrorism, or a drug trafficking offense
     (as such terms are defined in section 932(a) [18 USCS § 932(a)]); or
     (11) intends to sell or otherwise dispose of the firearm or ammunition to a
     person described in any of paragraphs (1) through (10).
  This subsection shall not apply with respect to the sale or disposition of a firearm or
  ammunition to a licensed importer, licensed manufacturer, licensed dealer, or
  licensed collector who pursuant to subsection (b) of section 925 [18 USCS § 925] is
  not precluded from dealing in firearms or ammunition, or to a person who has been
  granted relief from disabilities pursuant to subsection (c) of section 925 [18 USCS §
  925].
  (e) It shall be unlawful for any person knowingly to deliver or cause to be delivered
  to any common or contract carrier for transportation or shipment in interstate or
  foreign commerce, to persons other than licensed importers, licensed manufacturers,

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  licensed dealers, or licensed collectors, any package or other container in which
  there is any firearm or ammunition without written notice to the carrier that such
  firearm or ammunition is being transported or shipped; except that any passenger
  who owns or legally possesses a firearm or ammunition being transported aboard
  any common or contract carrier for movement with the passenger in interstate or
  foreign commerce may deliver said firearm or ammunition into the custody of the
  pilot, captain, conductor or operator of such common or contract carrier for the
  duration of the trip without violating any of the provisions of this chapter [18 USCS
  §§ 921 et seq.]. No common or contract carrier shall require or cause any label, tag,
  or other written notice to be placed on the outside of any package, luggage, or other
  container that such package, luggage, or other container contains a firearm.
  (f)
        (1) It shall be unlawful for any common or contract carrier to transport or deliver
        in interstate or foreign commerce any firearm or ammunition with knowledge or
        reasonable cause to believe that the shipment, transportation, or receipt thereof
        would be in violation of the provisions of this chapter [18 USCS §§ 921 et seq.].
        (2) It shall be unlawful for any common or contract carrier to deliver in interstate
        or foreign commerce any firearm without obtaining written acknowledgement of
        receipt from the recipient of the package or other container in which there is a
        firearm.
  (g) It shall be unlawful for any person—
        (1) who has been convicted in any court of, a crime punishable by imprisonment
        for a term exceeding one year;
        (2) who is a fugitive from justice;
        (3) who is an unlawful user of or addicted to any controlled substance (as
        defined in section 102 of the Controlled Substances Act (21 U.S.C. 802));
        (4) who has been adjudicated as a mental defective or who has been committed
        to a mental institution;
        (5) who, being an alien—
           (A) is illegally or unlawfully in the United States; or
           (B) except as provided in subsection (y)(2), has been admitted to the United
           States under a nonimmigrant visa (as that term is defined in section
           101(a)(26) of the Immigration and Nationality Act (8 U.S.C. 1101(a)(26)));
        (6) who has been discharged from the Armed Forces under dishonorable
        conditions;


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     (7) who, having been a citizen of the United States, has renounced his
     citizenship;
     (8) who is subject to a court order that—
        (A) was issued after a hearing of which such person received actual notice,
        and at which such person had an opportunity to participate;
        (B) restrains such person from harassing, stalking, or threatening an intimate
        partner of such person or child of such intimate partner or person, or engaging
        in other conduct that would place an intimate partner in reasonable fear of
        bodily injury to the partner or child; and
        (C)
            (i) includes a finding that such person represents a credible threat to the
            physical safety of such intimate partner or child; or
            (ii) by its terms explicitly prohibits the use, attempted use, or threatened
            use of physical force against such intimate partner or child that would
            reasonably be expected to cause bodily injury; or
     (9) who has been convicted in any court of a misdemeanor crime of domestic
     violence,
  to ship or transport in interstate or foreign commerce, or possess in or affecting
  commerce, any firearm or ammunition; or to receive any firearm or ammunition
  which has been shipped or transported in interstate or foreign commerce.
  (h) It shall be unlawful for any individual, who to that individual’s knowledge and
  while being employed for any person described in any paragraph of subsection (g)
  of this section, in the course of such employment—
     (1) to receive, possess, or transport any firearm or ammunition in or affecting
     interstate or foreign commerce; or
     (2) to receive any firearm or ammunition which has been shipped or transported
     in interstate or foreign commerce.
  (i) It shall be unlawful for any person to transport or ship in interstate or foreign
  commerce, any stolen firearm or stolen ammunition, knowing or having reasonable
  cause to believe that the firearm or ammunition was stolen.
  (j) It shall be unlawful for any person to receive, possess, conceal, store, barter, sell,
  or dispose of any stolen firearm or stolen ammunition, or pledge or accept as
  security for a loan any stolen firearm or stolen ammunition, which is moving as,
  which is a part of, which constitutes, or which has been shipped or transported in,
  interstate or foreign commerce, either before or after it was stolen, knowing or
  having reasonable cause to believe that the firearm or ammunition was stolen.
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  (k) It shall be unlawful for any person knowingly to transport, ship, or receive, in
  interstate or foreign commerce, any firearm which has had the importer’s or
  manufacturer’s serial number removed, obliterated, or altered, or to possess or
  receive any firearm which has had the importer’s or manufacturer’s serial number
  removed, obliterated, or altered and has, at any time, been shipped or transported in
  interstate or foreign commerce.
  (l) Except as provided in section 925(d) of this chapter [18 USCS § 925(d)], it shall
  be unlawful for any person knowingly to import or bring into the United States or
  any possession thereof any firearm or ammunition; and it shall be unlawful for any
  person knowingly to receive any firearm or ammunition which has been imported or
  brought into the United States or any possession thereof in violation of the
  provisions of this chapter [18 USCS §§ 921 et seq.].
  (m) It shall be unlawful for any licensed importer, licensed manufacturer, licensed
  dealer, or licensed collector knowingly to make any false entry in, to fail to make
  appropriate entry in, or to fail to properly maintain, any record which he is required
  to keep pursuant to section 923 of this chapter [18 USCS § 923] or regulations
  promulgated thereunder.
  (n) It shall be unlawful for any person who is under indictment for a crime
  punishable by imprisonment for a term exceeding one year to ship or transport in
  interstate or foreign commerce any firearm or ammunition or receive any firearm or
  ammunition which has been shipped or transported in interstate or foreign
  commerce.
  (o)
        (1) Except as provided in paragraph (2), it shall be unlawful for any person to
        transfer or possess a machinegun.
        (2) This subsection does not apply with respect to—
           (A) a transfer to or by, or possession by or under the authority of, the United
           States or any department or agency thereof or a State, or a department,
           agency, or political subdivision thereof; or
           (B) any lawful transfer or lawful possession of a machinegun that was
           lawfully possessed before the date this subsection takes effect [effective May
           19, 1986].
  (p)
        (1) It shall be unlawful for any person to manufacture, import, sell, ship, deliver,
        possess, transfer, or receive any firearm—



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        (A) that, after removal of grips, stocks, and magazines, is not as detectable as
        the Security Exemplar, by walk-through metal detectors calibrated and
        operated to detect the Security Exemplar; or
        (B) any major component of which, when subjected to inspection by the
        types of x-ray machines commonly used at airports, does not generate an
        image that accurately depicts the shape of the component. Barium sulfate or
        other compounds may be used in the fabrication of the component.
     (2) For purposes of this subsection—
        (A) the term “firearm” does not include the frame or receiver of any such
        weapon;
        (B) the term “major component” means, with respect to a firearm, the barrel,
        the slide or cylinder, or the frame or receiver of the firearm; and
        (C) the term “Security Exemplar” means an object, to be fabricated at the
        direction of the Attorney General, that is—
           (i) constructed of, during the 12-month period beginning on the date of the
           enactment of this subsection, 3.7 ounces of material type 17-4 PH stainless
           steel in a shape resembling a handgun; and
           (ii) suitable for testing and calibrating metal detectors:
        Provided, however , That at the close of such 12-month period, and at
        appropriate times thereafter the Attorney General shall promulgate regulations
        to permit the manufacture, importation, sale, shipment, delivery, possession,
        transfer, or receipt of firearms previously prohibited under this subparagraph
        that are as detectable as a “Security Exemplar” which contains 3.7 ounces of
        material type 17-4 PH stainless steel, in a shape resembling a handgun, or
        such lesser amount as is detectable in view of advances in state-of-the-art
        developments in weapons detection technology.
     (3) Under such rules and regulations as the Attorney General shall prescribe, this
     subsection shall not apply to the manufacture, possession, transfer, receipt,
     shipment, or delivery of a firearm by a licensed manufacturer or any person
     acting pursuant to a contract with a licensed manufacturer, for the purpose of
     examining and testing such firearm to determine whether paragraph (1) applies to
     such firearm. The Attorney General shall ensure that rules and regulations
     adopted pursuant to this paragraph do not impair the manufacture of prototype
     firearms or the development of new technology.
     (4) The Attorney General shall permit the conditional importation of a firearm
     by a licensed importer or licensed manufacturer, for examination and testing to

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        determine whether or not the unconditional importation of such firearm would
        violate this subsection.
        (5) This subsection shall not apply to any firearm which—
           (A) has been certified by the Secretary of Defense or the Director of Central
           Intelligence, after consultation with the Attorney General and the
           Administrator of the Federal Aviation Administration, as necessary for
           military or intelligence applications; and
           (B) is manufactured for and sold exclusively to military or intelligence
           agencies of the United States.
        (6) This subsection shall not apply with respect to any firearm manufactured in,
        imported into, or possessed in the United States before the date of the enactment
        of the Undetectable Firearms Act of 1988 [enacted Nov. 10, 1988].
  (q)
        (1) The Congress finds and declares that—
           (A) crime, particularly crime involving drugs and guns, is a pervasive,
           nationwide problem;
           (B) crime at the local level is exacerbated by the interstate movement of
           drugs, guns, and criminal gangs;
           (C) firearms and ammunition move easily in interstate commerce and have
           been found in increasing numbers in and around schools, as documented in
           numerous hearings in both the Committee on the Judiciary [of] the House of
           Representatives and the Committee on the Judiciary of the Senate;
           (D) in fact, even before the sale of a firearm, the gun, its component parts,
           ammunition, and the raw materials from which they are made have
           considerably moved in interstate commerce;
           (E) while criminals freely move from State to State, ordinary citizens and
           foreign visitors may fear to travel to or through certain parts of the country
           due to concern about violent crime and gun violence, and parents may decline
           to send their children to school for the same reason;
           (F) the occurrence of violent crime in school zones has resulted in a decline
           in the quality of education in our country;
           (G) this decline in the quality of education has an adverse impact on
           interstate commerce and the foreign commerce of the United States;
           (H) States, localities, and school systems find it almost impossible to handle
           gun-related crime by themselves—even States, localities, and school systems

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           that have made strong efforts to prevent, detect, and punish gun-related crime
           find their efforts unavailing due in part to the failure or inability of other
           States or localities to take strong measures; and
           (I) the Congress has the power, under the interstate commerce clause and
           other provisions of the Constitution, to enact measures to ensure the integrity
           and safety of the Nation’s schools by enactment of this subsection.
     (2)
           (A) It shall be unlawful for any individual knowingly to possess a firearm
           that has moved in or that otherwise affects interstate or foreign commerce at a
           place that the individual knows, or has reasonable cause to believe, is a school
           zone.
           (B) Subparagraph (A) does not apply to the possession of a firearm—
              (i) on private property not part of school grounds;
              (ii) if the individual possessing the firearm is licensed to do so by the State
              in which the school zone is located or a political subdivision of the State,
              and the law of the State or political subdivision requires that, before an
              individual obtains such a license, the law enforcement authorities of the
              State or political subdivision verify that the individual is qualified under
              law to receive the license;
              (iii) that is—
                 (I) not loaded; and
                 (II) in a locked container, or a locked firearms rack that is on a motor
                 vehicle;
              (iv) by an individual for use in a program approved by a school in the
              school zone;
              (v) by an individual in accordance with a contract entered into between a
              school in the school zone and the individual or an employer of the
              individual;
              (vi) by a law enforcement officer acting in his or her official capacity; or
              (vii) that is unloaded and is possessed by an individual while traversing
              school premises for the purpose of gaining access to public or private lands
              open to hunting, if the entry on school premises is authorized by school
              authorities.
     (3)


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           (A) Except as provided in subparagraph (B), it shall be unlawful for any
           person, knowingly or with reckless disregard for the safety of another, to
           discharge or attempt to discharge a firearm that has moved in or that
           otherwise affects interstate or foreign commerce at a place that the person
           knows is a school zone.
           (B) Subparagraph (A) does not apply to the discharge of a firearm—
              (i) on private property not part of school grounds;
              (ii) as part of a program approved by a school in the school zone, by an
              individual who is participating in the program;
              (iii) by an individual in accordance with a contract entered into between a
              school in a school zone and the individual or an employer of the
              individual; or
              (iv) by a law enforcement officer acting in his or her official capacity.
        (4) Nothing in this subsection shall be construed as preempting or preventing a
        State or local government from enacting a statute establishing gun free school
        zones as provided in this subsection.
  (r) It shall be unlawful for any person to assemble from imported parts any
  semiautomatic rifle or any shotgun which is identical to any rifle or shotgun
  prohibited from importation under section 925(d)(3) of this chapter [18 USCS §
  925(d)(3)] as not being particularly suitable for or readily adaptable to sporting
  purposes except that this subsection shall not apply to—
        (1) the assembly of any such rifle or shotgun for sale or distribution by a
        licensed manufacturer to the United States or any department or agency thereof
        or to any State or any department, agency, or political subdivision thereof; or
        (2) the assembly of any such rifle or shotgun for the purposes of testing or
        experimentation authorized by the Attorney General.
  (s)
        (1) Beginning on the date that is 90 days after the date of enactment of this
        subsection [enacted Nov. 30, 1993] and ending on the day before the date that is
        60 months after such date of enactment, it shall be unlawful for any licensed
        importer, licensed manufacturer, or licensed dealer to sell, deliver, or transfer a
        handgun (other than the return of a handgun to the person from whom it was
        received) to an individual who is not licensed under section 923 [18 USCS §
        923], unless—
           (A) after the most recent proposal of such transfer by the transferee—
              (i) the transferor has—
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                  (I) received from the transferee a statement of the transferee containing
                  the information described in paragraph (3);
                  (II) verified the identity of the transferee by examining the
                  identification document presented;
                  (III) within 1 day after the transferee furnishes the statement, provided
                  notice of the contents of the statement to the chief law enforcement
                  officer of the place of residence of the transferee; and
                  (IV) within 1 day after the transferee furnishes the statement,
                  transmitted a copy of the statement to the chief law enforcement officer
                  of the place of residence of the transferee; and
           (ii)
                  (I) 5 business days (meaning days on which State offices are open)
                  have elapsed from the date the transferor furnished notice of the
                  contents of the statement to the chief law enforcement officer, during
                  which period the transferor has not received information from the chief
                  law enforcement officer that receipt or possession of the handgun by
                  the transferee would be in violation of Federal, State, or local law; or
                  (II) the transferor has received notice from the chief law enforcement
                  officer that the officer has no information indicating that receipt or
                  possession of the handgun by the transferee would violate Federal,
                  State, or local law;
        (B) the transferee has presented to the transferor a written statement, issued
        by the chief law enforcement officer of the place of residence of the transferee
        during the 10-day period ending on the date of the most recent proposal of
        such transfer by the transferee, stating that the transferee requires access to a
        handgun because of a threat to the life of the transferee or of any member of
        the household of the transferee;
        (C)
           (i) the transferee has presented to the transferor a permit that—
                  (I) allows the transferee to possess or acquire a handgun; and
                  (II) was issued not more than 5 years earlier by the State in which the
                  transfer is to take place; and
           (ii) the law of the State provides that such a permit is to be issued only
           after an authorized government official has verified that the information
           available to such official does not indicate that possession of a handgun by
           the transferee would be in violation of the law;

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        (D) the law of the State requires that, before any licensed importer, licensed
        manufacturer, or licensed dealer completes the transfer of a handgun to an
        individual who is not licensed under section 923 [18 USCS § 923], an
        authorized government official verify that the information available to such
        official does not indicate that possession of a handgun by the transferee would
        be in violation of law;
        (E) the Attorney General has approved the transfer under section 5812 of the
        Internal Revenue Code of 1986 [26 USCS § 5812]; or
        (F) on application of the transferor, the Attorney General has certified that
        compliance with subparagraph (A)(i)(III) is impracticable because—
           (i) the ratio of the number of law enforcement officers of the State in
           which the transfer is to occur to the number of square miles of land area of
           the State does not exceed 0.0025;
           (ii) the business premises of the transferor at which the transfer is to occur
           are extremely remote in relation to the chief law enforcement officer; and
           (iii) there is an absence of telecommunications facilities in the
           geographical area in which the business premises are located.
     (2) A chief law enforcement officer to whom a transferor has provided notice
     pursuant to paragraph (1)(A)(i)(III) shall make a reasonable effort to ascertain
     within 5 business days whether receipt or possession would be in violation of the
     law, including research in whatever State and local recordkeeping systems are
     available and in a national system designated by the Attorney General.
     (3) The statement referred to in paragraph (1)(A)(i)(I) shall contain only—
        (A) the name, address, and date of birth appearing on a valid identification
        document (as defined in section 1028(d)(1) [18 USCS § 1028(d)(1)]) of the
        transferee containing a photograph of the transferee and a description of the
        identification used;
        (B) a statement that the transferee—
           (i) is not under indictment for, and has not been convicted in any court of,
           a crime punishable by imprisonment for a term exceeding 1 year, and has
           not been convicted in any court of a misdemeanor crime of domestic
           violence;
           (ii) is not a fugitive from justice;
           (iii) is not an unlawful user of or addicted to any controlled substance (as
           defined in section 102 of the Controlled Substances Act [21 USCS § 802]);


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              (iv) has not been adjudicated as a mental defective or been committed to a
              mental institution;
              (v) is not an alien who—
                 (I) is illegally or unlawfully in the United States; or
                 (II) subject to subsection (y)(2), has been admitted to the United States
                 under a nonimmigrant visa (as that term is defined in section 101(a)(26)
                 of the Immigration and Nationality Act (8 U.S.C. 1101(a)(26)));
              (vi) has not been discharged from the Armed Forces under dishonorable
              conditions; and
              (vii) is not a person who, having been a citizen of the United States, has
              renounced such citizenship;
           (C) the date the statement is made; and
           (D) notice that the transferee intends to obtain a handgun from the transferor.
     (4) Any transferor of a handgun who, after such transfer, receives a report from a
     chief law enforcement officer containing information that receipt or possession of
     the handgun by the transferee violates Federal, State, or local law shall, within 1
     business day after receipt of such request, communicate any information related
     to the transfer that the transferor has about the transfer and the transferee to—
           (A) the chief law enforcement officer of the place of business of the
           transferor; and
           (B) the chief law enforcement officer of the place of residence of the
           transferee.
     (5) Any transferor who receives information, not otherwise available to the
     public, in a report under this subsection shall not disclose such information
     except to the transferee, to law enforcement authorities, or pursuant to the
     direction of a court of law.
     (6)
           (A) Any transferor who sells, delivers, or otherwise transfers a handgun to a
           transferee shall retain the copy of the statement of the transferee with respect
           to the handgun transaction, and shall retain evidence that the transferor has
           complied with subclauses (III) and (IV) of paragraph (1)(A)(i) with respect to
           the statement.
           (B) Unless the chief law enforcement officer to whom a statement is
           transmitted under paragraph (1)(A)(i)(IV) determines that a transaction would
           violate Federal, State, or local law—

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              (i) the officer shall, within 20 business days after the date the transferee
              made the statement on the basis of which the notice was provided, destroy
              the statement, any record containing information derived from the
              statement, and any record created as a result of the notice required by
              paragraph (1)(A)(i)(III);
              (ii) the information contained in the statement shall not be conveyed to
              any person except a person who has a need to know in order to carry out
              this subsection; and
              (iii) the information contained in the statement shall not be used for any
              purpose other than to carry out this subsection.
           (C) If a chief law enforcement officer determines that an individual is
           ineligible to receive a handgun and the individual requests the officer to
           provide the reason for such determination, the officer shall provide such
           reasons to the individual in writing within 20 business days after receipt of the
           request.
        (7) A chief law enforcement officer or other person responsible for providing
        criminal history background information pursuant to this subsection shall not be
        liable in an action at law for damages—
           (A) for failure to prevent the sale or transfer of a handgun to a person whose
           receipt or possession of the handgun is unlawful under this section; or
           (B) for preventing such a sale or transfer to a person who may lawfully
           receive or possess a handgun.
        (8) For purposes of this subsection, the term “chief law enforcement officer”
        means the chief of police, the sheriff, or an equivalent officer or the designee of
        any such individual.
        (9) The Attorney General shall take necessary actions to ensure that the
        provisions of this subsection are published and disseminated to licensed dealers,
        law enforcement officials, and the public.
  (t)
        (1) Beginning on the date that is 30 days after the Attorney General notifies
        licensees under section 103(d) of the Brady Handgun Violence Prevention Act
        [note to this section] that the national instant criminal background check system
        is established, a licensed importer, licensed manufacturer, or licensed dealer shall
        not transfer a firearm to any other person who is not licensed under this chapter
        [18 USCS §§ 921 et seq.], unless—



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        (A) before the completion of the transfer, the licensee contacts the national
        instant criminal background check system established under section 103 of
        that Act [note to this section];
        (B)
           (i) the system provides the licensee with a unique identification number;
           or
           (ii) subject to subparagraph (C), 3 business days (meaning a day on which
           State offices are open) have elapsed since the licensee contacted the
           system, and the system has not notified the licensee that the receipt of a
           firearm by such other person would violate subsection (g) or (n) of this
           section, or State, local, or Tribal law;
        (C) in the case of a person less than 21 years of age, in addition to all other
        requirements of this chapter [18 USCS §§ 921 et seq.]—
           (i) the system provides the licensee with a unique identification number;
           (ii) 3 business days (meaning a day on which State offices are open) have
           elapsed since the licensee contacted the system, and the system has not
           notified the licensee that cause exists to further investigate a possibly
           disqualifying juvenile record under subsection (d); or
           (iii) in the case of such a person with respect to whom the system notifies
           the licensee in accordance with clause (ii) that cause exists to further
           investigate a possibly disqualifying juvenile record under subsection (d),
           10 business days (meaning a day on which State offices are open) have
           elapsed since the licensee contacted the system, and the system has not
           notified the licensee that—
               (I) transferring the firearm to the other person would violate subsection
               (d) of this section; or
               (II) receipt of a firearm by the other person would violate subsection
               (g) or (n) of this section, or State, local, or Tribal law; and
        (D) the transferor has verified the identity of the transferee by examining a
        valid identification document (as defined in section 1028(d) of this title [18
        USCS § 1028(d)]) of the transferee containing a photograph of the transferee.
     (2) If transfer or receipt of a firearm would not violate section 922(d), (g), or (n)
     [18 USCS § 922(d), (g), or (n)] (as applicable) or State, local or Tribal law, the
     system shall—
        (A) assign a unique identification number to the transfer;
        (B) provide the licensee with the number; and
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        (C) destroy all records of the system with respect to the call (other than the
        identifying number and the date the number was assigned) and all records of
        the system relating to the person or the transfer.
     (3) Paragraph (1) shall not apply to a firearm transfer between a licensee and
     another person if—
        (A)
           (i) such other person has presented to the licensee a permit that—
              (I) allows such other person to possess or acquire a firearm; and
              (II) was issued not more than 5 years earlier by the State in which the
              transfer is to take place; and
           (ii) the law of the State provides that such a permit is to be issued only
           after an authorized government official has verified that the information
           available to such official does not indicate that possession of a firearm by
           such other person would be in violation of law;
        (B) the Attorney General has approved the transfer under section 5812 of the
        Internal Revenue Code of 1986 [26 USCS § 5812]; or
        (C) on application of the transferor, the Attorney General has certified that
        compliance with paragraph (1)(A) is impracticable because—
           (i) the ratio of the number of law enforcement officers of the State in
           which the transfer is to occur to the number of square miles of land area of
           the State does not exceed 0.0025;
           (ii) the business premises of the licensee at which the transfer is to occur
           are extremely remote in relation to the chief law enforcement officer (as
           defined in subsection (s)(8)); and
           (iii) there is an absence of telecommunications facilities in the
           geographical area in which the business premises are located.
     (4) If the national instant criminal background check system notifies the licensee
     that the information available to the system does not demonstrate that the transfer
     of a firearm to or receipt of a firearm by such other person would violate
     subsection (d), (g), or (n) (as applicable) or State[,] local or Tribal law, and the
     licensee transfers a firearm to such other person, the licensee shall include in the
     record of the transfer the unique identification number provided by the system
     with respect to the transfer.
     (5) If the licensee knowingly transfers a firearm to such other person and
     knowingly fails to comply with paragraph (1) of this subsection with respect to
     the transfer and, at the time such other person most recently proposed the
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        transfer, the national instant criminal background check system was operating
        and information was available to the system demonstrating that transfer of a
        firearm to or receipt of a firearm by such other person would violate subsection
        (d), (g), or (n) (as applicable) of this section or State[,] local or Tribal law, the
        Attorney General may, after notice and opportunity for a hearing, suspend for not
        more than 6 months or revoke any license issued to the licensee under section
        923 [18 USCS § 923], and may impose on the licensee a civil fine of not more
        than $5,000.
        (6) Neither a local government nor an employee of the Federal Government or of
        any State or local government, responsible for providing information to the
        national instant criminal background check system shall be liable in an action at
        law for damages—
           (A) for failure to prevent the sale or transfer of a firearm to a person whose
           receipt or possession of the firearm is unlawful under this section; or
           (B) for preventing such a sale or transfer to a person who may lawfully
           receive or possess a firearm.
  (u) It shall be unlawful for a person to steal or unlawfully take or carry away from
  the person or the premises of a person who is licensed to engage in the business of
  importing, manufacturing, or dealing in firearms, any firearm in the licensee’s
  business inventory that has been shipped or transported in interstate or foreign
  commerce.
  (v), (w) [Repealed]
  (x)
        (1) It shall be unlawful for a person to sell, deliver, or otherwise transfer to a
        person who the transferor knows or has reasonable cause to believe is a
        juvenile—
           (A) a handgun; or
           (B) ammunition that is suitable for use only in a handgun.
        (2) It shall be unlawful for any person who is a juvenile to knowingly possess—
           (A) a handgun; or
           (B) ammunition that is suitable for use only in a handgun.
        (3) This subsection does not apply to—
           (A) a temporary transfer of a handgun or ammunition to a juvenile or to the
           possession or use of a handgun or ammunition by a juvenile if the handgun
           and ammunition are possessed and used by the juvenile—

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           (i) in the course of employment, in the course of ranching or farming
           related to activities at the residence of the juvenile (or on property used for
           ranching or farming at which the juvenile, with the permission of the
           property owner or lessee, is performing activities related to the operation
           of the farm or ranch), target practice, hunting, or a course of instruction in
           the safe and lawful use of a handgun;
           (ii) with the prior written consent of the juvenile’s parent or guardian who
           is not prohibited by Federal, State, or local law from possessing a firearm,
           except—
              (I) during transportation by the juvenile of an unloaded handgun in a
              locked container directly from the place of transfer to a place at which
              an activity described in clause (i) is to take place and transportation by
              the juvenile of that handgun, unloaded and in a locked container,
              directly from the place at which such an activity took place to the
              transferor; or
              (II) with respect to ranching or farming activities as described in
              clause (i), a juvenile may possess and use a handgun or ammunition
              with the prior written approval of the juvenile’s parent or legal guardian
              and at the direction of an adult who is not prohibited by Federal, State
              or local law from possessing a firearm;
           (iii) the juvenile has the prior written consent in the juvenile’s possession
           at all times when a handgun is in the possession of the juvenile; and
           (iv) in accordance with State and local law;
        (B) a juvenile who is a member of the Armed Forces of the United States or
        the National Guard who possesses or is armed with a handgun in the line of
        duty;
        (C) a transfer by inheritance of title (but not possession) of a handgun or
        ammunition to a juvenile; or
        (D) the possession of a handgun or ammunition by a juvenile taken in
        defense of the juvenile or other persons against an intruder into the residence
        of the juvenile or a residence in which the juvenile is an invited guest.
     (4) A handgun or ammunition, the possession of which is transferred to a
     juvenile in circumstances in which the transferor is not in violation of this
     subsection shall not be subject to permanent confiscation by the Government if
     its possession by the juvenile subsequently becomes unlawful because of the
     conduct of the juvenile, but shall be returned to the lawful owner when such


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     handgun or ammunition is no longer required by the Government for the
     purposes of investigation or prosecution.
     (5) For purposes of this subsection, the term “juvenile” means a person who is
     less than 18 years of age.
     (6)
           (A) In a prosecution of a violation of this subsection, the court shall require
           the presence of a juvenile defendant’s parent or legal guardian at all
           proceedings.
           (B) The court may use the contempt power to enforce subparagraph (A).
           (C) The court may excuse attendance of a parent or legal guardian of a
           juvenile defendant at a proceeding in a prosecution of a violation of this
           subsection for good cause shown.
  (y) Provisions relating to aliens admitted under nonimmigrant visas.
     (1) Definitions. In this subsection—
           (A) the term “alien” has the same meaning as in section 101(a)(3) of the
           Immigration and Nationality Act (8 U.S.C. 1101(a)(3)); and
           (B) the term “nonimmigrant visa” has the same meaning as in section
           101(a)(26) of the Immigration and Nationality Act (8 U.S.C. 1101(a)(26)).
     (2) Exceptions. Subsections (d)(5)(B), (g)(5)(B), and (s)(3)(B)(v)(II) do not
     apply to any alien who has been lawfully admitted to the United States under a
     nonimmigrant visa, if that alien is—
           (A) admitted to the United States for lawful hunting or sporting purposes or
           is in possession of a hunting license or permit lawfully issued in the United
           States;
           (B) an official representative of a foreign government who is—
              (i) accredited to the United States Government or the Government’s
              mission to an international organization having its headquarters in the
              United States; or
              (ii) en route to or from another country to which that alien is accredited;
           (C) an official of a foreign government or a distinguished foreign visitor who
           has been so designated by the Department of State; or
           (D) a foreign law enforcement officer of a friendly foreign government
           entering the United States on official law enforcement business.
     (3) Waiver.

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        (A) Conditions for waiver. Any individual who has been admitted to the
        United States under a nonimmigrant visa may receive a waiver from the
        requirements of subsection (g)(5), if—
           (i) the individual submits to the Attorney General a petition that meets the
           requirements of subparagraph (C); and
           (ii) the Attorney General approves the petition.
        (B) Petition. Each petition under subparagraph (B) shall—
           (i) demonstrate that the petitioner has resided in the United States for a
           continuous period of not less than 180 days before the date on which the
           petition is submitted under this paragraph; and
           (ii) include a written statement from the embassy or consulate of the
           petitioner, authorizing the petitioner to acquire a firearm or ammunition
           and certifying that the alien would not, absent the application of subsection
           (g)(5)(B), otherwise be prohibited from such acquisition under subsection
           (g).
        (C) Approval of petition. The Attorney General shall approve a petition
        submitted in accordance with this paragraph, if the Attorney General
        determines that waiving the requirements of subsection (g)(5)(B) with respect
        to the petitioner—
           (i) would be in the interests of justice; and
           (ii) would not jeopardize the public safety.
  (z) Secure gun storage or safety device.
     (1) In general. Except as provided under paragraph (2), it shall be unlawful for
     any licensed importer, licensed manufacturer, or licensed dealer to sell, deliver,
     or transfer any handgun to any person other than any person licensed under this
     chapter [18 USCS §§ 921 et seq.], unless the transferee is provided with a secure
     gun storage or safety device (as defined in section 921(a)(34) [18 USCS §
     921(a)(34)]) for that handgun.
     (2) Exceptions. Paragraph (1) shall not apply to—
        (A)
           (i) the manufacture for, transfer to, or possession by, the United States, a
           department or agency of the United States, a State, or a department,
           agency, or political subdivision of a State, of a handgun; or




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           (ii) the transfer to, or possession by, a law enforcement officer employed
           by an entity referred to in clause (i) of a handgun for law enforcement
           purposes (whether on or off duty); or
        (B) the transfer to, or possession by, a rail police officer directly employed by
        or contracted by a rail carrier and certified or commissioned as a police officer
        under the laws of a State of a handgun for purposes of law enforcement
        (whether on or off duty);
        (C) the transfer to any person of a handgun listed as a curio or relic by the
        Secretary pursuant to section 921(a)(13) [18 USCS § 921(a)(13)]; or
        (D) the transfer to any person of a handgun for which a secure gun storage or
        safety device is temporarily unavailable for the reasons described in the
        exceptions stated in section 923(e) [18 USCS § 923(e)], if the licensed
        manufacturer, licensed importer, or licensed dealer delivers to the transferee
        within 10 calendar days from the date of the delivery of the handgun to the
        transferee a secure gun storage or safety device for the handgun.
     (3) Liability for use.
        (A) In general. Notwithstanding any other provision of law, a person who has
        lawful possession and control of a handgun, and who uses a secure gun
        storage or safety device with the handgun, shall be entitled to immunity from
        a qualified civil liability action.
        (B) Prospective actions. A qualified civil liability action may not be brought
        in any Federal or State court.
        (C) Defined term. As used in this paragraph, the term “qualified civil liability
        action”—
           (i) means a civil action brought by any person against a person described
           in subparagraph (A) for damages resulting from the criminal or unlawful
           misuse of the handgun by a third party, if—
               (I) the handgun was accessed by another person who did not have the
               permission or authorization of the person having lawful possession and
               control of the handgun to have access to it; and
               (II) at the time access was gained by the person not so authorized, the
               handgun had been made inoperable by use of a secure gun storage or
               safety device; and
           (ii) shall not include an action brought against the person having lawful
           possession and control of the handgun for negligent entrustment or
           negligence per se.

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                                        18 USCS § 922, Part 1 of 4

        [Appendix A repealed]

History


HISTORY:

Added June 19, 1968, P. L. 90-351, Title IV, § 902, 82 Stat. 228; Oct. 22, 1968, P. L. 90-
618, Title I, § 102, 82 Stat. 1216; Dec. 21, 1982, P. L. 97-377, Title I, § 165(a), 96 Stat.
1923; May 19, 1986, P. L. 99-308, § 102, 100 Stat. 451; Aug. 28, 1986, P. L. 99-408, § 2,
100 Stat. 920; Nov. 11, 1988, P. L. 100-649, § 2(a), 102 Stat. 3816; Nov. 18, 1988, P. L.
100-690, Title VII, Subtitle B, § 7060(c), 102 Stat. 4404; Nov. 29, 1990, P. L. 101-647,
Title XVII, § 1702(b)(1), Title XXII, §§ 2201, 2202, 2204(b), Title XXXV, § 3524, 104
Stat. 4844, 4856, 4857, 4924; Nov. 30, 1993, P. L. 103-159, Title I, § 102(a)(1), (b), Title
III, § 302(a)–(c), 107 Stat. 1536, 1539, 1545; Sept. 13, 1994, P. L. 103-322, Title XI,
Subtitle A, §§ 110102(a), 110103(a), 110106, Subtitle B, § 110201(a), Subtitle D, §
110401(b), (c), Subtitle E, §§ 110511, 110514, Title XXXII, Subtitle I, §§ 320904,
320927, Title XXXIII, § 330011(i), 108 Stat. 1996, 1998, 2000, 2010, 2014, 2019, 2125,
2131, 2145; Oct. 11, 1996, P. L. 104-294, Title VI, § 603(b), (c)(1), (d), (e), (f)(1), (g), 110
Stat. 3503, 3504; Sept. 30, 1996, P. L. 104-208, Div A, Title I, § 101(f) [Title VI, §§ 657,
658(b)], 110 Stat. 3009-369, 3009-372; Oct. 21, 1998, P. L. 105-277, Div A, § 101(b)
[Title I, § 121], 112 Stat. 2681-71; Nov. 2, 2002, P. L. 107-273, Div B, Title IV, §
4003(a)(1), 116 Stat. 1811; Nov. 25, 2002, P. L. 107-296, Title XI, Subtitle B, §
1112(f)(4), (6), 116 Stat. 2276; Oct. 26, 2005, P. L. 109-92, §§ 5(c)(1), 6(a), 119 Stat.
2099, 2101; Dec. 4, 2015, P. L. 114-94, Div A, Title XI, Subtitle D, § 11412(c)(2), 129
Stat. 1688; Mar. 15, 2022, P.L. 117-103, Div W, Title XI, § 1104(b), 136 Stat. 921; June
25, 2022, P.L. 117-159, Div A, Title II, §§ 12001(a)(1), 12004(b), 136 Stat. 1322, 1329.

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                               28 USCS § 1292, Part 1 of 2
              Current through Public Law 118-13, approved August 7, 2023.
United States Code Service > TITLE 28. JUDICIARY AND JUDICIAL PROCEDURE (§§ 1 — 5001) > Part
IV. Jurisdiction and Venue (Chs. 81 — 99) > CHAPTER 83. Courts of Appeals (§§ 1291 — 1296)



§ 1292. Interlocutory decisions


      (a) Except as provided in subsections (c) and (d) of this section, the courts of
      appeals shall have jurisdiction of appeals from:
         (1) Interlocutory orders of the district courts of the United States, the United
         States District Court for the District of the Canal Zone, the District Court of
         Guam, and the District Court of the Virgin Islands, or of the judges thereof,
         granting, continuing, modifying, refusing or dissolving injunctions, or refusing to
         dissolve or modify injunctions, except where a direct review may be had in the
         Supreme Court;
         (2) Interlocutory orders appointing receivers, or refusing orders to wind up
         receiverships or to take steps to accomplish the purposes thereof, such as
         directing sales or other disposals of property;
         (3) Interlocutory decrees of such district courts or the judges thereof determining
         the rights and liabilities of the parties to admiralty cases in which appeals from
         final decrees are allowed.
      (b) When a district judge, in making in a civil action an order not otherwise
      appealable under this section, shall be of the opinion that such order involves a
      controlling question of law as to which there is substantial ground for difference of
      opinion and that an immediate appeal from the order may materially advance the
      ultimate termination of the litigation, he shall so state in writing in such order. The
      Court of Appeals which would have jurisdiction of an appeal of such action may
      thereupon, in its discretion, permit an appeal to be taken from such order, if
      application is made to it within ten days after the entry of the order: Provided,
      however, That application for an appeal hereunder shall not stay proceedings in the
      district court unless the district judge or the Court of Appeals or a judge thereof shall
      so order.
      (c) The United States Court of Appeals for the Federal Circuit shall have exclusive
      jurisdiction—


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        (1) of an appeal from an interlocutory order or decree described in subsection (a)
        or (b) of this section in any case over which the court would have jurisdiction of
        an appeal under section 1295 of this title [28 USCS § 1295]; and
        (2) of an appeal from a judgment in a civil action for patent infringement which
        would otherwise be appealable to the United States Court of Appeals for the
        Federal Circuit and is final except for an accounting.
  (d)
        (1) When the chief judge of the Court of International Trade issues an order
        under the provisions of section 256(b) of this title [28 USCS § 256(b)], or when
        any judge of the Court of International Trade, in issuing any other interlocutory
        order, includes in the order a statement that a controlling question of law is
        involved with respect to which there is a substantial ground for difference of
        opinion and that an immediate appeal from that order may materially advance the
        ultimate termination of the litigation, the United States Court of Appeals for the
        Federal Circuit may, in its discretion, permit an appeal to be taken from such
        order, if application is made to that Court within ten days after the entry of such
        order.
        (2) When the chief judge of the United States Court of Federal Claims issues an
        order under section 798(b) of this title [28 USCS § 798(b)], or when any judge of
        the United States Claims Court [United States Court of Federal Claims], in
        issuing an interlocutory order, includes in the order a statement that a controlling
        question of law is involved with respect to which there is a substantial ground for
        difference of opinion and that an immediate appeal from that order may
        materially advance the ultimate termination of the litigation, the United States
        Court of Appeals for the Federal Circuit may, in its discretion, permit an appeal
        to be taken from such order, if application is made to that Court within ten days
        after the entry of such order.
        (3) Neither the application for nor the granting of an appeal under this subsection
        shall stay proceedings in the Court of International Trade or in the Claims Court
        [Court of Federal Claims], as the case may be, unless a stay is ordered by a judge
        of the Court of International Trade or of the Claims Court [Court of Federal
        Claims] or by the United States Court of Appeals for the Federal Circuit or a
        judge of that court.
        (4)
              (A) The United States Court of Appeals for the Federal Circuit shall have
              exclusive jurisdiction of an appeal from an interlocutory order of a district
              court of the United States, the District Court of Guam, the District Court of
              the Virgin Islands, or the District Court for the Northern Mariana Islands,
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                                           28 USCS § 1292, Part 1 of 2

                    granting or denying, in whole or in part, a motion to transfer an action to the
                    United States Claims Court [United States Court of Federal Claims] under
                    section 1631 of this title [28 USCS § 1631].
                    (B) When a motion to transfer an action to the Claims Court [Court of
                    Federal Claims] is filed in a district court, no further proceedings shall be
                    taken in the district court until 60 days after the court has ruled upon the
                    motion. If an appeal is taken from the district court’s grant or denial of the
                    motion, proceedings shall be further stayed until the appeal has been decided
                    by the Court of Appeals for the Federal Circuit. The stay of proceedings in the
                    district court shall not bar the granting of preliminary or injunctive relief,
                    where appropriate and where expedition is reasonably necessary. However,
                    during the period in which proceedings are stayed as provided in this
                    subparagraph, no transfer to the Claims Court [Court of Federal Claims]
                    pursuant to the motion shall be carried out.
        (e) The Supreme Court may prescribe rules, in accordance with section 2072 of this
        title [28 USCS § 2072], to provide for an appeal of an interlocutory decision to the
        courts of appeals that is not otherwise provided for under subsection (a), (b), (c), or
        (d).

History


HISTORY:

June 25, 1948, ch 646, 62 Stat. 929; Oct. 31, 1951, ch 655, § 49, 65 Stat. 726; July 7, 1958,
P. L. 85-508, § 12(e), 72 Stat. 348; Sept. 2, 1958, P. L. 85-919, 72 Stat. 1770; April 2,
1982, P. L. 97-164, Title I, Part A, § 125, 96 Stat. 36; Nov. 8, 1984, P. L. 98-620, Title IV,
Subtitle C, § 412, 98 Stat. 3362; Nov. 19, 1988, P. L. 100-702, Title V, § 501, 102 Stat.
4652; Oct. 29, 1992, P. L. 102-572, Title I, § 101, Title IX, § 906(c), 106 Stat. 4506, 4518.

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                                   28 USCS § 1331, Part 1 of 3
                    Current through Public Law 118-13, approved August 7, 2023.
United States Code Service > TITLE 28. JUDICIARY AND JUDICIAL PROCEDURE (§§ 1 — 5001) > Part
IV. Jurisdiction and Venue (Chs. 81 — 99) > CHAPTER 85. District Courts; Jurisdiction (§§ 1330 — 1389)



§ 1331. Federal question


        The district courts shall have original jurisdiction of all civil actions arising under
        the Constitution, laws, or treaties of the United States.

History


HISTORY:

June 25, 1948, ch 646, 62 Stat. 930; July 25, 1958, P. L. 85-554, § 1, 72 Stat. 415; Oct. 21,
1976, P. L. 94-574, § 2, 90 Stat. 2721; Dec. 1, 1980, P. L. 96-486, § 2(a), 94 Stat. 2369.

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                                   42 USCS § 1983, Part 1 of 16
                    Current through Public Law 118-13, approved August 7, 2023.
United States Code Service > TITLE 42. THE PUBLIC HEALTH AND WELFARE (Chs. 1 — 164) >
CHAPTER 21. CIVIL RIGHTS (§§ 1981 — 2000h-6) > GENERALLY (§§ 1981 — 1996b)



§ 1983. Civil action for deprivation of rights


        Every person who, under color of any statute, ordinance, regulation, custom, or
        usage, of any State or Territory or the District of Columbia, subjects, or causes to be
        subjected, any citizen of the United States or other person within the jurisdiction
        thereof to the deprivation of any rights, privileges, or immunities secured by the
        Constitution and laws, shall be liable to the party injured in an action at law, suit in
        equity, or other proper proceeding for redress, except that in any action brought
        against a judicial officer for an act or omission taken in such officer’s judicial
        capacity, injunctive relief shall not be granted unless a declaratory decree was
        violated or declaratory relief was unavailable. For the purposes of this section, any
        Act of Congress applicable exclusively to the District of Columbia shall be
        considered to be a statute of the District of Columbia.

History


HISTORY:

R. S. § 1979; Dec. 29, 1979, P. L. 96-170, § 1, 93 Stat. 1284; Oct. 19, 1996, P. L. 104-317,
Title III, § 309(c), 110 Stat. 3853.

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                                         C.R.S. 18-12-302
Statutes current through all legislation from the 2023 Regular Session effective as of June
 30, 2023. The text of this section is not final. It will not be final until compared to, and
updated from, the text provided by the Colorado Office of Legislative Legal Services later
                                           this year.
Colorado Revised Statutes Annotated > Title 18. Criminal Code (Arts. 1 — 26) > Article 12. Offenses
Relating to Firearms and Weapons (Pts. 1 — 5) > Part 3. Large-Capacity Ammunition Magazines (§§ 18-12-
301 — 18-12-303)



18-12-302. Large-capacity magazines prohibited - penalties - exceptions.


       (1)
             (a) Except as otherwise provided in this section, on and after July 1, 2013, a
             person who sells, transfers, or possesses a large-capacity magazine commits a
             class 2 misdemeanor.
             (b) Repealed.
             (c) Any person who violates this subsection (1) commits a class 6 felony if the
             person possessed a large-capacity magazine during the commission of a felony or
             any crime of violence, as defined in section 18-1.3-406.
       (2)
             (a) A person may possess a large-capacity magazine if he or she:
                (I) Owns the large-capacity magazine on July 1, 2013; and
                (II) Maintains continuous possession of the large-capacity magazine.
             (b) If a person who is alleged to have violated subsection (1) of this section
             asserts that he or she is permitted to legally possess a large-capacity magazine
             pursuant to paragraph (a) of this subsection (2), the prosecution has the burden of
             proof to refute the assertion.
       (3) The offense described in subsection (1) of this section shall not apply to:
             (a) An entity, or any employee thereof engaged in his or her employment duties,
             that manufactures large-capacity magazines within Colorado exclusively for
             transfer to, or any licensed gun dealer, as defined in section 18-12-506 (6), or any
             employee thereof engaged in his or her official employment duties, that sells
             large-capacity magazines exclusively to:


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                                              C.R.S. 18-12-302

                    (I) A branch of the armed forces of the United States;
                    (II) A department, agency, or political subdivision of the state of Colorado,
                    or of any other state, or of the United States government;
                    (III) A firearms retailer for the purpose of firearms sales conducted outside
                    the state;
                    (IV) A foreign national government that has been approved for such transfers
                    by the United States government; or
                    (V) An out-of-state transferee who may legally possess a large-capacity
                    magazine; or
            (b) An employee of any of the following agencies who bears a firearm in the
            course of his or her official duties:
                    (I) A branch of the armed forces of the United States; or
                    (II) A department, agency, or political subdivision of the state of Colorado,
                    or of any other state, or of the United States government; or
            (c) A person who possesses the magazine for the sole purpose of transporting the
            magazine to an out-of-state entity on behalf of a manufacturer of large-capacity
            magazines within Colorado.

History


Source: L. 2013:Entire part added,(HB 13-1224), ch. 48, p. 145, § 1, effective July 1.
L. 2018:IP(3)(a) amended,(SB 18-032), ch. 8, p. 153, § 7, effective October 1.
L. 2021:(1)(b)(II) added by revision,(SB 21-271), ch. 462, pp. 3213, 3331, §§ 351, 803.

Colorado Revised Statutes Annotated
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                                   Conn. Gen. Stat. § 53-202w
Current through 2023 Regular Session Act approved by the Governor on or before July 1,
                                        2023
LexisNexis® Connecticut Annotated Statutes > Title 53 Crimes (Chs. 938 — 949g) > Chapter 943 Offenses
Against Public Peace and Safety (§§ 53-169 — 53-215a)



Notice

  This section has more than one version with varying effective dates.



Sec. 53-202w. Large capacity magazines. Definitions. Sale, transfer or possession
prohibited. Exceptions. [Effective October 1, 2023]


       (a) As used in this section and section 53-202x:
          (1) “Large capacity magazine” means any firearm magazine, belt, drum, feed
          strip or similar device that has the capacity of, or can be readily restored or
          converted to accept, more than ten rounds of ammunition, but does not include:
          (A) A feeding device that has been permanently altered so that it cannot
          accommodate more than ten rounds of ammunition, (B) a .22 caliber tube
          ammunition feeding device, (C) a tubular magazine that is contained in a lever-
          action firearm, or (D) a magazine that is permanently inoperable;
          (2) “Lawfully possesses”, with respect to a large capacity magazine, means that
          a person has (A) actual and lawful possession of the large capacity magazine, (B)
          constructive possession of the large capacity magazine pursuant to a lawful
          purchase of a firearm that contains a large capacity magazine that was transacted
          prior to or on April 4, 2013, regardless of whether the firearm was delivered to
          the purchaser prior to or on April 4, 2013, which lawful purchase is evidenced by
          a writing sufficient to indicate that (i) a contract for sale was made between the
          parties prior to or on April 4, 2013, for the purchase of the firearm, or (ii) full or
          partial payment for the firearm was made by the purchaser to the seller of the
          firearm prior to or on April 4, 2013, or (C) actual possession under subparagraph
          (A) of this subdivision, or constructive possession under subparagraph (B) of this
          subdivision, as evidenced by a written statement made under penalty of false


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                                 Conn. Gen. Stat. § 53-202w

     statement on such form as the Commissioner of Emergency Services and Public
     Protection prescribes; and
     (3) “Licensed gun dealer” means a person who has a federal firearms license and
     a permit to sell firearms pursuant to section 29-28.
  (b) Except as provided in this section, on and after April 5, 2013, any person who,
  within this state, distributes, imports into this state, keeps for sale, offers or exposes
  for sale, or purchases a large capacity magazine shall be guilty of a class D felony.
  On and after April 5, 2013, any person who, within this state, transfers a large
  capacity magazine, except as provided in subsection (f) of this section, shall be
  guilty of a class D felony.
  (c) Except as provided in this section and section 53-202x: (1) Any person who
  possesses a large capacity magazine on or after January 1, 2014, that was obtained
  prior to April 5, 2013, shall commit an infraction and be fined not more than ninety
  dollars for a first offense and shall be guilty of a class D felony for any subsequent
  offense, and (2) any person who possesses a large capacity magazine on or after
  January 1, 2014, that was obtained on or after April 5, 2013, shall be guilty of a
  class D felony.
  (d) A large capacity magazine may be possessed, purchased or imported by:
     (1) The Department of Emergency Services and Public Protection, police
     departments, the Department of Correction, the Division of Criminal Justice, the
     Department of Motor Vehicles, the Department of Energy and Environmental
     Protection or the military or naval forces of this state or of the United States;
     (2) A sworn and duly certified member of an organized police department, the
     Division of State Police within the Department of Emergency Services and
     Public Protection or the Department of Correction, a chief inspector or inspector
     in the Division of Criminal Justice, a salaried inspector of motor vehicles
     designated by the Commissioner of Motor Vehicles, a conservation officer or
     special conservation officer appointed by the Commissioner of Energy and
     Environmental Protection pursuant to section 26-5, or a constable who is certified
     by the Police Officer Standards and Training Council and appointed by the chief
     executive authority of a town, city or borough to perform criminal law
     enforcement duties, for use by such sworn member, inspector, officer or
     constable in the discharge of such sworn member’s, inspector’s, officer’s or
     constable’s official duties or when off duty;
     (3) A member of the military or naval forces of this state or of the United States;
     (4) A nuclear facility licensed by the United States Nuclear Regulatory
     Commission for the purpose of providing security services at such facility, or any

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     contractor or subcontractor of such facility for the purpose of providing security
     services at such facility;
     (5) Any person who is sworn and acts as a policeman on behalf of an armored
     car service pursuant to section 29-20 in the discharge of such person’s official
     duties; or
     (6) Any person, firm or corporation engaged in the business of manufacturing
     large capacity magazines in this state that manufactures, purchases, tests or
     transports large capacity magazines in this state for sale within this state to
     persons specified in subdivisions (1) to (5), inclusive, of this subsection or for
     sale outside this state, or a federally-licensed firearm manufacturer engaged in
     the business of manufacturing firearms or large capacity magazines in this state
     that manufactures, purchases, tests or transports firearms or large capacity
     magazines in this state for sale within this state to persons specified in
     subdivisions (1) to (5), inclusive, of this subsection or for sale outside this state.
  (e) A large capacity magazine may be possessed by:
     (1) A licensed gun dealer;
     (2) A gunsmith who is in a licensed gun dealer’s employ, who possesses such
     large capacity magazine for the purpose of servicing or repairing a lawfully
     possessed large capacity magazine;
     (3) A person, firm, corporation or federally-licensed firearm manufacturer
     described in subdivision (6) of subsection (d) of this section that possesses a
     large capacity magazine that is lawfully possessed by another person for the
     purpose of servicing or repairing the large capacity magazine;
     (4) Any person who has declared possession of the magazine pursuant to section
     53-202x; or
     (5) Any person who is the executor or administrator of an estate that includes a
     large capacity magazine, or the trustee of a trust that includes a large capacity
     magazine, the possession of which has been declared to the Department of
     Emergency Services and Public Protection pursuant to section 53-202x, which is
     disposed of as authorized by the Probate Court, if the disposition is otherwise
     permitted by this section and section 53-202x.
  (f) Subsection (b) of this section shall not prohibit:
     (1) The transfer of a large capacity magazine, the possession of which has been
     declared to the Department of Emergency Services and Public Protection
     pursuant to section 53-202x, by bequest or intestate succession, or, upon the
     death of a testator or settlor: (A) To a trust, or (B) from a trust to a beneficiary;

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                                      Conn. Gen. Stat. § 53-202w

           (2) The transfer of a large capacity magazine to a police department or the
           Department of Emergency Services and Public Protection;
           (3) The transfer of a large capacity magazine to a licensed gun dealer in
           accordance with section 53-202x; or
           (4) The transfer of a large capacity magazine prior to October 1, 2013, from a
           licensed gun dealer, pawnbroker licensed under section 21-40, or consignment
           shop operator, as defined in section 21-39a, to any person who (A) possessed the
           large capacity magazine prior to or on April 4, 2013, (B) placed a firearm that
           such person legally possessed, with the large capacity magazine included or
           attached, in the possession of such dealer, pawnbroker or operator prior to or on
           April 4, 2013, pursuant to an agreement between such person and such dealer,
           pawnbroker or operator for the sale of the firearm to a third person, and (C) is
           eligible to possess the firearm on the date of such transfer.
       (g) The court may order suspension of prosecution in addition to any other
       diversionary programs available to the defendant, if the court finds that a violation
       of this section is not of a serious nature and that the person charged with such
       violation (1) will probably not offend in the future, (2) has not previously been
       convicted of a violation of this section, and (3) has not previously had a prosecution
       under this section suspended pursuant to this subsection, it may order suspension of
       prosecution in accordance with the provisions of subsection (h) of section 29-33, as
       amended by public act 23-53.

History



P.A. 13-3, § 23, effective April 4, 2013; P.A. 13-220, § 1, effective June 18, 2013; P.A. 23-
203, § 3, effective October 1, 2023.

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                                       D.C. Code § 7-2502.01
                        The Official Code is current through June 30, 2023
District of Columbia Official Code > Division I. Government of District. (Titles 1 — 10) > Title 7. Human
Health Care and Safety. (Subts. A — L) > Subtitle J. Public Safety. (Chs. 22 — 28B) > Chapter 25. Firearms
Control. (§§ 7-2501.01 — 7-2551.03) > Unit A. Firearms Control Regulations. (Subchs. I — X) > Subchapter
II. Firearms and Destructive Devices. (§§ 7-2502.01 — 7-2502.16)



§ 7-2502.01. Registration requirements.


       (a) Except as otherwise provided in this unit, no person or organization in the
       District of Columbia (“District”) shall receive, possess, control, transfer, offer for
       sale, sell, give, or deliver any destructive device, and no person or organization in
       the District shall possess or control any firearm, unless the person or organization
       holds a valid registration certificate for the firearm. A registration certificate may be
       issued:
           (1) To an organization if:
                 (A) The organization employs at least 1 commissioned special police officer
                 or employee licensed to carry a firearm whom the organization arms during
                 the employee’s duty hours; and
                 (B) The registration is issued in the name of the organization and in the name
                 of the president or chief executive officer of the organization;
           (2) In the discretion of the Chief of Police, to a police officer who has retired
           from the Metropolitan Police Department;
           (3) In the discretion of the Chief of Police, to the Fire Marshal and any member
           of the Fire and Arson Investigation Unit of the Fire Prevention Bureau of the Fire
           Department of the District of Columbia, who is designated in writing by the Fire
           Chief, for the purpose of enforcing the arson and fire safety laws of the District
           of Columbia;
           (4) To a firearms instructor, or to an organization that employs a firearms
           instructor, for the purpose of conducting firearms training; or
           (5) To a person who complies with, and meets the requirements of, this unit.
       (b) Subsection (a) of this section shall not apply to:
           (1)


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        (A) Qualified law enforcement officers, as that phrase is defined in 18 U.S.C.
        § 926B(c) and (f), who are carrying the identification required by 18 U.S.C. §
        926B(d);
        (B) Qualified retired law enforcement officers, as that phrase is defined in 18
        U.S.C. §926C(c) and (e)(2), who are carrying the identification required by 18
        U.S.C. § 926C(d);
        (C) Members of the Army, Navy, Air Force, or Marine Corps of the United
        States, or of the National Guard or Organized Reserves, when on duty and
        duly authorized to carry a firearm;
        (D) Officers or employees of the United States, when duly authorized to
        carry a firearm; or
        (E) State law enforcement officers who lawfully enter the District of
        Columbia in hot pursuit of a person suspected of having committed a crime;.
     (2) Any person holding a dealer’s license; provided, that the firearm or
     destructive device is:
        (A) Acquired by such person in the normal conduct of business;
        (B) Kept at the place described in the dealer’s license; and
        (C) Not kept for such person’s private use or protection, or for the protection
        of his business;
     (3) With respect to firearms, any nonresident of the District participating in any
     lawful recreational firearm-related activity in the District, or on his way to or
     from such activity in another jurisdiction; provided, that such person, whenever
     in possession of a firearm, shall upon demand of any member of the Metropolitan
     Police Department, or other bona fide law enforcement officer, exhibit proof that
     he is on his way to or from such activity, and that his possession or control of
     such firearm is lawful in the jurisdiction in which he resides; provided further,
     that such weapon shall be transported in accordance with § 22-4504.02;
     (4) Any person who temporarily possesses a firearm registered to another person
     while in the home or place of business of the registrant; provided, that the person
     is not otherwise prohibited from possessing firearms and the person reasonably
     believes that possession of the firearm is necessary to prevent imminent death or
     great bodily harm to himself or herself; or
     (5) Any person who temporarily possesses a firearm while participating in a
     firearms training and safety class conducted by a firearms instructor.
  (c) For the purposes of subsection (b)(3) of this section, the term “recreational
  firearm-related activity” includes a firearms training and safety class.

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                                        D.C. Code § 7-2502.01

History

(Sept. 24, 1976, D.C. Law 1-85, title II, § 201, 23 DCR 2464; May 7, 1993, D.C. Law 9-
266, § 2(a), 39 DCR 5676; Mar. 26, 1999, D.C. Law 12-176,§ 5, 45 DCR 5662; Apr. 20,
1999, D.C. Law 12-264, § 19, 46 DCR 2118; Mar. 31, 2009, D.C. Law 17-372, § 3(b), 56
DCR 1365; Sept. 29, 2012, D.C. Law 19-170, § 2(b), 59 DCR 5691; June 16, 2015, D.C.
Law 20-279, § 2(a), 62 DCR 1944; Apr. 21, 2023, D.C. Law 24-347, § 2(b), 70 DCR
928.)

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                                       D.C. Code § 7-2502.02
                       The Official Code is current through June 30, 2023
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Health Care and Safety. (Subts. A — L) > Subtitle J. Public Safety. (Chs. 22 — 28B) > Chapter 25. Firearms
Control. (§§ 7-2501.01 — 7-2551.03) > Unit A. Firearms Control Regulations. (Subchs. I — X) > Subchapter
II. Firearms and Destructive Devices. (§§ 7-2502.01 — 7-2502.16)



§ 7-2502.02. Registration of certain firearms prohibited.


       (a) A registration certificate shall not be issued for a:
           (1) Sawed-off shotgun;
           (2) Machine gun;
           (3) Short-barreled rifle;
           (4) Pistol not validly registered to the current registrant in the District prior to
           September 24, 1976, except that the prohibition on registering a pistol shall not
           apply to:
               (A) Any organization that employs at least one commissioned special police
               officer or other employee licensed to carry a firearm and that arms the
               employee with a firearm during the employee’s duty hours;
               (B) A police officer who has retired from the Metropolitan Police
               Department;
               (C) Any person who seeks to register a pistol:
                  (i) For use in self-defense within that person’s home or place of business;
                  or
                  (ii) As part of the application process for a license to carry a concealed
                  pistol pursuant to § 7-2509.02; or
               (D) A firearms instructor, or an organization that employs a firearms
               instructor, for the purpose of conducting firearms training.
           (5) An unsafe firearm prohibited under § 7-2505.04;
           (6) An assault weapon;
           (7) A .50 BMG rifle; or
           (8) Ghost gun.

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                                           D.C. Code § 7-2502.02

      (b) Repealed.
      (c)
            (1) Notwithstanding subsection (a)(5) of this section, a registration certificate
            may be issued for a self-manufactured firearm that is not prohibited under
            subsection (a)(1) through (4) or (6) through (8) of this section if:
                  (A) The applicant meets the requirements of § 7-2502.03; and
                  (B) A unique serial number is engraved or cast on, or otherwise permanently
                  affixed to, the firearm in a manner that meets or exceeds the requirements
                  imposed on licensed importers and licensed manufacturers of firearms
                  pursuant to 18 U.S.C. § 923(i) and regulations issued pursuant thereto;
                  provided, that a serial number or mark of identification exceeds these
                  requirements if the engraving, casting, or stamping (also known as
                  impressing) of the serial number exceeds the required minimum depth or
                  exceeds the minimum print size of that provision.
            (2)
                  (A) An applicant who meets the requirements of § 7-2502.03 may register a
                  self-manufactured firearm that does not bear a serial number as described in
                  paragraph (1)(B) of this subsection, if, prior to finishing the frame or receiver,
                  the applicant has caused a unique serial number to be engraved, casted,
                  stamped (impressed), or placed on the frame or receiver, as set forth in
                  subparagraphs (B) and (C) of this paragraph.
                  (B) The serial number shall consist of the first and last name of the self-
                  manufacturer, followed by the designation “DC” and then a set of 2 to 5
                  numbers.
                  (C) The set of numbers described in subparagraph (B) of this paragraph shall
                  not duplicate any serial number placed by the self-manufacturer on any other
                  firearm. The applicant shall, before engraving, casting, stamping (impressing),
                  or placing a serial number on the frame or receiver, confirm with the
                  Metropolitan Police Department that the proposed serial number has not
                  already been registered to another firearm.

History

(Sept. 24, 1976, D.C. Law 1-85, title II, § 202, 23 DCR 2464; Mar. 16, 1978, D.C. Law 2-
62, § 2, 24 DCR 5780; May 7, 1993, D.C. Law 9-266, § 2(b), 39 DCR 5676; Mar. 31,
2009, D.C. Law 17-372, § 3(c), 56 DCR 1365; Sept. 29, 2012, D.C. Law 19-170, § 2(c),
59 DCR 5691; June 16, 2015, D.C. Law 20-279, § 2(b), 62 DCR 1944; Apr. 27, 2021,

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D.C. Law 23-274, title II, § 201(b), 68 DCR 1034; Apr. 21, 2023, D.C. Law 24-347, §
2(c), 70 DCR 928.)

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                                       D.C. Code § 7-2502.03
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Control. (§§ 7-2501.01 — 7-2551.03) > Unit A. Firearms Control Regulations. (Subchs. I — X) > Subchapter
II. Firearms and Destructive Devices. (§§ 7-2502.01 — 7-2502.16)



§ 7-2502.03. Qualifications for registration; information required for registration.


       (a) No registration certificate shall be issued to any person (and in the case of a
       person between the ages of 18 and 21, to the person and the person’s signatory
       parent or guardian) or organization unless the Chief determines that such person (or
       the president or chief executive in the case of an organization):
           (1) Is 21 years of age or older; provided, that the Chief may issue to an applicant
           between the ages of 18 and 21 years old, and who is otherwise qualified, a
           registration certificate if the application is accompanied by a notarized statement
           of the applicant’s parent or guardian:
               (A) That the applicant has the permission of the applicant’s parent or
               guardian to own and use the firearm to be registered; and
               (B) The parent or guardian assumes civil liability for all damages resulting
               from the actions of such applicant in the use of the firearm to be registered;
               provided further, that such registration certificate shall expire on such
               person’s 21st birthday;
           (2) Has not been convicted of a weapons offense (but not an infraction or
           misdemeanor violation under § 7-2502.08, § 7-2507.02, § 7-2507.06, or § 7-
           2508.07) or a felony in this or any other jurisdiction (including a crime
           punishable by imprisonment for a term exceeding one year);
           (3) Is not under indictment for a crime of violence or a weapons offense;
           (4) Has not been convicted within 5 years prior to the application of any:
               (A) Violation in any jurisdiction of any law restricting the use, possession, or
               sale of any narcotic or dangerous drug;
               (B) A violation of § 22-404, regarding assaults and threats, or § 22-407,
               regarding threats to do bodily harm, or a violation of any similar provision of
               the law of another jurisdiction;


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                                    D.C. Code § 7-2502.03

           (C) Two or more violations of § 50-2201.05(b), or, in this or any other
           jurisdiction, any law restricting driving under the influence of alcohol or
           drugs;
           (D) Intrafamily offense punishable as a misdemeanor, including any similar
           provision in the law of another jurisdiction;
           (E) Misdemeanor violation pursuant to § 7-2507.02 or § 7-2507.06;
           (F) Violation of § 22-3133; or
           (G) Violation of an extreme risk protection order pursuant to § 7-2510.11;
     (5) Within the 5-year period immediately preceding the application, has not been
     acquitted of any criminal charge by reason of insanity or has not been
     adjudicated a chronic alcoholic by any court; provided, that this paragraph shall
     not apply if such person shall present to the Chief, with the application, a medical
     certification indicating that the applicant has recovered from such insanity or
     alcoholic condition and is capable of safe and responsible possession of a
     firearm;
     (6)
           (A) Within the 5-year period immediately preceding the application, has not
           been:
              (i) Voluntarily admitted to a mental health facility;
              (ii) Involuntarily committed to a mental health facility by the Superior
              Court of the District of Columbia, another court of competent jurisdiction,
              the Commission on Mental Health, or a similar commission in another
              jurisdiction;
              (iii) Determined by the Superior Court of the District of Columbia or
              another court of competent jurisdiction to be an incapacitated individual,
              as that term is defined in § 21-2011(11);
              (iv) Adjudicated as a mental defective, as that term is defined in 27 C.F.R.
              § 478.11; or
              (v) Committed to a mental institution, as that term is defined in 27 C.F.R.
              § 478.11;
           (B) Subparagraph (A) of this paragraph shall not apply if:
              (i) For applicants disqualified as a result of a voluntary admission,
              commitment, incapacity determination, or adjudication that occurred in the
              District, the Superior Court of the District of Columbia has granted the
              applicant relief pursuant to subsection (f) of this section, unless the

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            applicant, since the court granted the applicant relief pursuant to
            subsection (f) of this section, is again disqualified under subparagraph (A)
            of this paragraph; and
            (ii) For applicants disqualified as a result of a voluntary admission,
            commitment, incapacity determination, or adjudication that occurred in
            another jurisdiction, the court or commission of competent jurisdiction has
            granted the applicant relief, unless the applicant, since the court or
            commission granted the applicant relief, is again disqualified under
            subparagraph (A) of this paragraph.
     (6A) Within the 5 years immediately preceding the application, has not had a
     history of violent behavior;
     (7) Does not appear to suffer from a physical defect which would tend to
     indicate that the applicant would not be able to possess and use a firearm safely
     and responsibly;
     (8) Has not been adjudicated negligent in a firearm mishap causing death or
     serious injury to another human being;
     (9) Is not otherwise ineligible to possess a firearm under § 22-4503;
     (10) Has not failed to demonstrate satisfactorily, in accordance with a test
     prescribed by the Chief, a knowledge of the laws of the District of Columbia
     pertaining to firearms and, in particular, the requirements of this unit, the
     responsibilities regarding storage, and the requirements for transport; provided,
     that once this determination is made with respect to a given applicant for a
     particular firearm, it need not be made again for the same applicant with respect
     to a subsequent application for a firearm or for the renewal of a registration
     certificate pursuant to § 7-2502.07a;
     (11) Is not blind, as defined in § 7-1009(1);
     (12)
        (A) Has not been the respondent in an intrafamily proceeding in which a civil
        protection order was issued against the applicant pursuant to § 16-1005;
        provided, that an applicant who has been the subject of such an order shall be
        eligible for registration if the applicant has submitted to the Chief a certified
        court record establishing that the order has expired or has been rescinded for a
        period of 5 years or more; or
        (B) Has not been the respondent in a proceeding in which a foreign
        protection order, as that term is defined in § 16-1041, was issued against the
        applicant; provided, that an applicant who has been the subject of such an
        order shall be eligible for registration if the applicant has submitted to the
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                                  D.C. Code § 7-2502.03

        Chief a certified court record establishing that the order has expired or has
        been rescinded for a period of 5 years;
     (13)
        (A) Has completed a firearms training and safety class provided free of
        charge by the Chief; or
        (B) Has submitted evidence of any of the following:
            (i) That the applicant has received firearms training in the United States
            military;
            (ii) A license from another state for which firearms training is required,
            where the training, as determined by the Chief, is equal to or greater than
            that provided under subparagraph (A) of this paragraph; or
            (iii) That the applicant has otherwise completed a firearms training or
            safety course conducted by a firearms instructor that, as determined by the
            Chief, is equal to or greater than that conducted under subparagraph (A) of
            this paragraph;
     (14) Has not been prohibited from possessing or registering a firearm pursuant to
     § 7-2502.08; and
     (15) Is not the subject of an ex parte extreme risk protection order issued
     pursuant to § 7-2510.04 or a final extreme risk protection order issued pursuant
     to § 7-2510.03 or renewed pursuant to § 7-2510.06.
  (b) Every person applying for a registration certificate shall provide on a form
  prescribed by the Chief:
     (1) The full name or any other name by which the applicant is known;
     (2) The present address and each home address where the applicant has resided
     during the 5-year period immediately preceding the application;
     (3) The present business or occupation of the applicant and the address and
     phone number of the employer;
     (4) The date and place of birth of the applicant;
     (5) The sex of the applicant;
     (6) Whether (and if so, the reasons) the District, the United States or the
     government of any state or subdivision of any state has denied or revoked the
     applicant’s license, registration certificate, or permit pertaining to any firearm;




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        (7) A description of the applicant’s role in any mishap involving a firearm,
        including the date, place, time, circumstances, and the names of the persons
        injured or killed;
        (8) Repealed.
        (9) The caliber, make, model, manufacturer’s identification number, serial
        number, and any other identifying marks on the firearm;
        (10) For a firearm that is not self-manufactured pursuant to § 7-2502.02, the
        name and address of the person or organization from whom the firearm was
        obtained, and in the case of a dealer, his dealer’s license number;
        (11) Where the firearm will generally be kept;
        (12) Whether the applicant has applied for other registration certificates issued
        and outstanding;
        (13) Such other information as the Chief determines is necessary to carry out the
        provisions of this unit.
  (c) Every organization applying for a registration certificate shall:
        (1) With respect to the president or chief executive of such organization, comply
        with the requirements of subsection (b) of this section; and
        (2) Provide such other information as the Chief determines is necessary to carry
        out the provisions of this unit.
  (d) Repealed.
  (e) The Chief shall register no more than one pistol per registrant during any 30-day
  period; provided, that the Chief may permit a person first becoming a District
  resident to register more than one pistol if those pistols were lawfully owned in
  another jurisdiction for a period of 6 months prior to the date of the application.
  (f)
        (1) A person disqualified under subsection (a)(6)(A) of this section, 18 U.S.C. §
        922(d)(4), or 18 U.S.C. § 922(g)(4) as a result of a commitment or adjudication
        that occurred in the District, may petition the Superior Court for the District of
        Columbia for relief from disqualification.
        (2) A petition filed pursuant to paragraph (1) of this subsection shall:
           (A) Be in writing;
           (B) State the reason the petitioner was disqualified;
           (C) State facts in support of the petitioner’s claim that the petitioner should
           no longer be disqualified;

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                                    D.C. Code § 7-2502.03

           (D) Include a statement, on a form approved by the court, signed by a
           licensed physician, psychiatrist, or qualified psychologist within the 30-day
           period immediately preceding the filing of the petition for relief, stating:
              (i) The symptoms or behaviors for which the petitioner has been
              disqualified;
              (ii) The length of time that the petitioner has no longer experienced those
              symptoms or behaviors;
              (iii) The length of time that the petitioner has been compliant with any
              applicable treatment plans related to the reason the petitioner was
              disqualified; and
              (iv) That, in the physician, psychiatrist, or psychologist’s opinion, the
              petitioner would not be likely to act in a manner dangerous to public safety
              if allowed to register a firearm;
           (E) Be accompanied by any appropriate exhibits, affidavits, or supporting
           documents, including records of any guardianship, conservatorship, or
           commitment proceeding related to the petitioner’s disqualification;
           (F) Include 2 statements from individuals who are not related to the petitioner
           by blood, adoption, guardianship, marriage, domestic partnership, having a
           child in common, cohabitating, or maintaining a romantic, dating, or sexual
           relationship and have known the petitioner for at least 3 years. The
           individuals’ statements shall:
              (i) Be on a form approved by the court, and signed by the individual
              within the 30-day period immediately preceding the filing of the petition
              for relief;
              (ii) Describe the petitioner’s reputation and character; and
              (iii) State that, in the individual’s opinion, the petitioner would not be
              likely to act in a manner dangerous to public safety if allowed to register a
              firearm; and
           (G) Be served upon the Office of the Attorney General.
     (3)
           (A)
              (i) Upon receipt of a petition filed under paragraph (1) of this subsection,
              and for good cause shown, the court shall issue such orders as may be
              necessary to obtain any mental health records and other information
              relevant for the purposes of the petition. The order shall require the
              disclosure of records to the Office of the Attorney General so that the
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              Office of the Attorney General can conduct a search of the petitioner’s
              mental health records and report its findings to the court as required by
              subparagraph (B) of this paragraph.
              (ii) The court shall order the Office of the Attorney General to file a
              response to the petition. Within 60 days after the court’s order for a
              response, the Office of the Attorney General shall file a response
              indicating whether the Office of the Attorney General supports or opposes
              the petition.
              (iii) The court may, for good cause shown, extend in 30-day increments
              the date by which the Office of Attorney General must file its response
              under subsubparagraph (ii) of this subparagraph.
           (B) The Office of Attorney General shall:
              (i) Conduct a reasonable search of all available records of the petitioner’s
              mental health;
              (ii) Perform a national criminal history and firearms eligibility
              background check on the petitioner; and
              (iii) Include its findings under this subparagraph in its response to the
              court.
           (C) The Metropolitan Police Department shall, upon request, provide to the
           Office of Attorney General any records related to the petitioner it has in its
           possession or could obtain after conducting a reasonable search.
     (4)
           (A) The court shall hold a hearing on a petition filed under paragraph (1) of
           this subsection within 60 days after the date on which the Office of Attorney
           General files its response.
           (B) In determining whether to grant a petition filed pursuant to paragraph (1)
           of this subsection, the court shall consider all relevant evidence, including:
              (i) The reason the petitioner was disqualified;
              (ii) The petitioner’s mental health and criminal history records; and
              (iii) Evidence of the petitioner’s reputation.
     (5) The court shall grant a petition filed pursuant to paragraph (1) of this
     subsection if the petitioner establishes, by a preponderance of the evidence, that:
           (A) The petitioner would not be likely to act in a manner dangerous to public
           safety; and


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                    (B) Granting the relief would not be contrary to the public interest.
            (6) If the court grants a petition for relief pursuant to paragraph (5) of this
            subsection, the court shall issue an order that:
                    (A) States the petitioner is no longer disqualified under subsection (a)(6)(A)
                    of this section;
                    (B) Orders the Clerk of the Court to submit a copy of the order to the
                    Metropolitan Police Department, the Office of the Attorney General, and any
                    other relevant law enforcement, pretrial, corrections, or community
                    supervision agency; and
                    (C) Requires that the petitioner’s record be updated in the National Instant
                    Criminal Background Check System and any other system used to determine
                    firearm registration eligibility to reflect that the petitioner is no longer
                    disqualified.
            (7) If the court denies a petition for relief, the court shall state the reasons for its
            denial in writing.
            (8) An order granting or denying a petition filed under paragraph (1) of this
            subsection shall be a final order for the purposes of appeal.

History

(Sept. 24, 1976, D.C. Law 1-85, title II, § 203, 23 DCR 2464; Mar. 16, 1978, D.C. Law 2-
62, § 2, 24 DCR 5780; Mar. 31, 2009, D.C. Law 17-372, § 3(d), 56 DCR 1365; June 3,
2011, D.C. Law 18-377, § 2(a), 58 DCR 1174; Sept. 29, 2012, D.C. Law 19-170, § 2(d),
59 DCR 5691; June 16, 2015, D.C. Law 20-279, § 2(c), 62 DCR 1944; May 10, 2019,
D.C. Law 22-314, § 2(a), 66 DCR 1672; Apr. 27, 2021, D.C. Law 23-274, title I, § 102(a),
68 DCR 1034; Apr. 6, 2023, D.C. Law 24-341, title I, § 106, 69 DCR 14698; Apr. 21,
2023, D.C. Law 24-347, § 2(d), 70 DCR 928.)

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Control. (§§ 7-2501.01 — 7-2551.03) > Unit A. Firearms Control Regulations. (Subchs. I — X) > Subchapter
VI. Possession of Ammunition. (§ 7-2506.01)



§ 7-2506.01. Persons permitted to possess ammunition.


       (a) No person shall possess ammunition in the District of Columbia unless:
           (1) He is a licensed dealer pursuant to subchapter IV of this unit;
           (2) He is an officer, agent, or employee of the District of Columbia or the United
           States of America, on duty and acting within the scope of his duties when
           possessing such ammunition;
           (3) He is the holder of a valid registration certificate for a firearm pursuant to
           subchapter II of this chapter; except, that no such person shall possess one or
           more restricted pistol bullets;
           (4) He holds an ammunition collector’s certificate on September 24, 1976; or
           (5) He temporarily possesses ammunition while participating in a firearms
           training and safety class conducted by a firearms instructor.
       (b) No person in the District shall possess, sell, or transfer any large capacity
       ammunition feeding device regardless of whether the device is attached to a firearm.
       For the purposes of this subsection, the term “large capacity ammunition feeding
       device” means a magazine, belt, drum, feed strip, or similar device that has a
       capacity of, or that can be readily restored or converted to accept, more than 10
       rounds of ammunition. The term “large capacity ammunition feeding device” shall
       not include an attached tubular device designed to accept, and capable of operating
       only with, .22 caliber rimfire ammunition.

History

(Sept. 24, 1976, D.C. Law 1-85, title VI, § 601, 23 DCR 2464; Mar. 16, 1978, D.C. Law
2-62, § 2, 24 DCR 5780; Aug. 2, 1983, D.C. Law 5-19, § 4, 30 DCR 3328; Mar. 31,
2009, D.C. Law 17-372, § 3(n), 56 DCR 1365; Sept. 29, 2012, D.C. Law 19-170, § 2(n),
59 DCR 5691; Apr. 27, 2013, D.C. Law 19-295, § 2(c), 60 DCR 2623.)

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                                        D.C. Code § 7-2506.01



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                                       D.C. Code § 7-2507.06
                        The Official Code is current through June 30, 2023
District of Columbia Official Code > Division I. Government of District. (Titles 1 — 10) > Title 7. Human
Health Care and Safety. (Subts. A — L) > Subtitle J. Public Safety. (Chs. 22 — 28B) > Chapter 25. Firearms
Control. (§§ 7-2501.01 — 7-2551.03) > Unit A. Firearms Control Regulations. (Subchs. I — X) > Subchapter
VII. Miscellaneous Provisions. (§§ 7-2507.01 — 7-2507.11)



§ 7-2507.06. Penalties.


       (a) Except as provided in §§ 7-2502.05, 7-2502.08, 7-2507.02, 7-2508.07,
       subchapter IX of this chapter [§ 7-2509.01 et seq.], and § 7-2510.11, any person
       convicted of a violation of any provision of this unit shall be fined not more than the
       amount set forth in § 22-3571.01 or imprisoned for not more than 1 year, or both;
       except that:
           (1) A person who knowingly or intentionally sells, transfers, or distributes a
           firearm, destructive device, or ammunition to a person under 18 years of age
           shall be fined not more than the amount set forth in § 22-3571.01 or imprisoned
           for not more than 10 years, or both.
           (2)
                 (A) Except as provided in subparagraph (B) of this paragraph, any person
                 who is convicted a second time for possessing an unregistered firearm shall be
                 fined not more than the amount set forth in § 22-3571.01 or imprisoned not
                 more than 5 years, or both.
                 (B) A person who in the person’s dwelling place, place of business, or on
                 other land possessed by the person, possesses a pistol, or firearm that could
                 otherwise be registered, shall be fined not more than the amount set forth in
                 § 22-3571.01 or imprisoned not more than 1 year, or both.
           (3)
                 (A) A person convicted of possessing more than one restricted pistol bullet in
                 violation of § 7-2506.01(a)(3) may be sentenced to imprisonment for a term
                 not to exceed 10 years and shall be sentenced to imprisonment for a
                 mandatory-minimum term of not less than 1 year and shall not be released
                 from prison or granted probation or suspension of sentence prior to serving
                 the mandatory-minimum sentence, and, in addition, may be fined not more
                 than the amount set forth in § 22-3571.01.

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                                    D.C. Code § 7-2507.06

           (B) A person convicted of possessing a single restricted pistol bullet in
           violation of § 7-2506.01(a)(3) shall be fined not more than the amount set
           forth in § 22-3571.01 or imprisoned for not more than 1 year, or both.
        (4) A person convicted of possessing a large capacity ammunition feeding
        device in violation of § 7-2506.01(b) shall be fined no more than the amount set
        forth in § 22-3571.01, or incarcerated for no more than 3 years, or both.
  (b)
        (1) For the following violations of this unit, the prosecution may, in the
        operation of its discretion, offer an administrative disposition whereby a person
        may immediately resolve his or her case upon payment of a fine, in an amount set
        by the Board of Judges of the Superior Court of the District of Columbia;
        provided, that the person is not concurrently charged with another criminal
        offense arising from the same event, other than an offense pursuant to § 7-
        2502.01 or § 7-2506.01:
           (A) Possession of an unregistered firearm pursuant to § 7-2502.01;
           (B) Unlawful possession of ammunition (but not possession of more than one
           restricted pistol bullet) pursuant to § 7-2506.01;
           (C) Possession of a single restricted pistol bullet pursuant to § 7-
           2507.06(a)(3)(B); provided, that the person did not also possess a firearm at
           the time of arrest;
           (D) Possession of a self-defense spray in violation of § 7-2502.13; and
           (E) Possession of a stun gun in violation of § 7-2502.15.
        (2) In determining whether to offer an administrative disposition pursuant to this
        subsection, the prosecution, in the operation of its discretion, may consider,
        among other factors, whether at the time of his or her arrest, the person was a
        resident of the District of Columbia and whether the person had knowledge of
        § 7-2502.01, § 7-2506.01, or § 7-2507.06(a)(3)(B).
        (3) An administrative disposition pursuant to this subsection is not a conviction
        of a crime and shall not be equated to a criminal conviction. The fact that a
        person resolved a charge through an administrative disposition pursuant to this
        subsection may not be relied upon by any court of the District of Columbia or
        any agency of the District of Columbia in any subsequent criminal, civil, or
        administrative proceeding or administrative action to impose any sanction,
        penalty, enhanced sentence, or civil disability.




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                                        D.C. Code § 7-2507.06

            (4) At the time of the prosecution’s offer of an administrative disposition, the
            person may elect to proceed with the criminal case in lieu of an administrative
            disposition.
            (5) The Mayor, pursuant to subchapter I of Chapter 5 of Title 2 [§ 2-501 et seq.],
            may issue rules to implement the provisions of this subsection. The rules may
            provide procedures and criteria to be used in determining when the prosecution,
            in the operation of its discretion, may offer the option of an administrative
            disposition pursuant to this subsection.

History

(Sept. 24, 1976, D.C. Law 1-85, title VII, § 706, 23 DCR 2464; Mar. 5, 1981, D.C. Law 3-
147, § 2, 27 DCR 4882; Aug. 20, 1994, D.C. Law 10-151, § 301, 41 DCR 2608; Apr. 24,
2007, D.C. Law 16-306, § 205, 53 DCR 8610; Sept. 29, 2012, D.C. Law 19-170, § 2(p),
59 DCR 5691; Apr. 27, 2013, D.C. Law 19-295, § 2(d), 60 DCR 2623; June 16, 2015,
D.C. Law 20-279, § 2(e), 62 DCR 1944; May 19, 2017, D.C. Law 21-281, § 2(e), 64
DCR 1648; May 10, 2019, D.C. Law 22-314, § 2(d), 66 DCR 1672.)

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                                        D.C. Code § 22-3571.01
                        The Official Code is current through June 30, 2023
District of Columbia Official Code > Division IV. Criminal law and procedure and prisoners. (Titles 22 — 24)
> Title 22. Criminal Offenses and Penalties. (Subts. I — VII) > Subtitle I. Criminal Offenses. (Chs. 1 — 35B)
> Chapter 35B. Fines for Criminal Offenses. (§§ 22-3571.01 — 22-3571.02)



§ 22-3571.01. Fines for criminal offenses.


       (a) Notwithstanding any other provision of the law, and except as provided in § 22-
       3571.02, a defendant who has been found guilty of an offense under the District of
       Columbia Official Code punishable by imprisonment may be sentenced to pay a fine
       as provided in this section.
       (b) An individual who has been found guilty of such an offense may be fined not
       more than the greatest of:
           (1) $100 if the offense is punishable by imprisonment for 10 days or less;
           (2) $250 if the offense is punishable by imprisonment for 30 days, or one month,
           or less but more than 10 days;
           (3) $500 if the offense is punishable by imprisonment for 90 days, or 3 months,
           or less but more than 30 days;
           (4) $1,000 if the offense is punishable by imprisonment for 180 days, or 6
           months, or less but more than 90 days;
           (5) $2,500 if the offense is punishable by imprisonment for one year or less but
           more than 180 days;
           (6) $12,500 if the offense is punishable by imprisonment for 5 years or less but
           more than one year;
           (7) $25,000 if the offense is punishable by imprisonment for 10 years or less but
           more than 5 years;
           (8) $37,500 if the offense is punishable by imprisonment for 15 years or less but
           more than 10 years;
           (9) $50,000 if the offense is punishable by imprisonment for 20 years or less but
           more than 15 years;
           (10) $75,000 if the offense is punishable by imprisonment for 30 years or less
           but more than 20 years;

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                                        D.C. Code § 22-3571.01

            (11) $125,000 if the offense is punishable by imprisonment for more than 30
            years; or
            (12) $250,000 if the offense resulted in death.
        (c) An organization that has been found guilty of an offense punishable by
        imprisonment for 6 months or more may be fined not more than the greatest of:
            (1) Twice the maximum amount specified in the law setting forth the penalty for
            the offense;
            (2) Twice the applicable amount under subsection (b) of this section; or
            (3) Twice the applicable amount under § 22-3571.02(a).

History

(June 11, 2013, D.C. Law 19-317, § 101, 60 DCR 2064.)

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                                          D.C. Code § 22-4506
                        The Official Code is current through June 30, 2023
District of Columbia Official Code > Division IV. Criminal law and procedure and prisoners. (Titles 22 — 24)
> Title 22. Criminal Offenses and Penalties. (Subts. I — VII) > Subtitle VI. Regulation and Possession of
Weapons. (Ch. 45) > Chapter 45. Weapons and Possession of Weapons. (§§ 22-4501 — 22-4517)



§ 22-4506. Issue of a license to carry a pistol.


       (a) The Chief of the Metropolitan Police Department (“Chief”) may, upon the
       application of a person having a bona fide residence or place of business within the
       District of Columbia, or of a person having a bona fide residence or place of
       business within the United States and a license to carry a pistol concealed upon his
       or her person issued by the lawful authorities of any State or subdivision of the
       United States, issue a license to such person to carry a pistol concealed upon his or
       her person within the District of Columbia for not more than 2 years from the date of
       issue, if it appears that the applicant has good reason to fear injury to his or her
       person or property or has any other proper reason for carrying a pistol, and that he or
       she is a suitable person to be so licensed.
       (b) A non-resident who lives in a state that does not require a license to carry a
       concealed pistol may apply to the Chief for a license to carry a pistol concealed
       upon his or her person within the District of Columbia for not more than 2 years
       from the date of issue; provided, that he or she meets the same reasons and
       requirements set forth in subsection (a) of this section.
       (c) For any person issued a license pursuant to this section, or renewed pursuant to
       § 7-2509.03, the Chief may limit the geographic area, circumstances, or times of the
       day, week, month, or year in which the license is effective, and may subsequently
       limit, suspend, or revoke the license as provided under § 7-2509.05.
       (d) The application for a license to carry shall be on a form prescribed by the Chief
       and shall bear the name, address, description, photograph, and signature of the
       licensee.
       (e) Except as provided in § 7-2509.05(b), any person whose application has been
       denied or whose license has been limited or revoked may, within 15 days after the
       date of the notice of denial or notice of intent, appeal to the Concealed Pistol
       Licensing Review Board established pursuant to § 7-2509.08.

History

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                                        D.C. Code § 22-4506



(July 8, 1932, 47 Stat. 651, ch. 465, § 6; May 21, 1994, D.C. Law 10-119, § 15(e), 41
DCR 1639; May 20, 2009, D.C. Law 17-388, § 2(f), 56 DCR 1162; June 16, 2015, D.C.
Law 20-279, § 3(b), 62 DCR 1944.)

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                                           HRS § 134-8
This document is current through 2023 Legislative Session. Subject to changes by Revisor
                               pursuant to HRS 23G-15.
Michie's™ Hawaii Revised Statutes Annotated > Division 1. Government (Titles 1 — 21) > Title 10 Public
Safety and Internal Security (Chs. 121 — 138) > Chapter 134 Firearms, Ammunition and Dangerous Weapons
(Pts. I — V) > Part I. General Regulations (§§ 134-1 — 134-29)



§ 134-8. Ownership, etc., of automatic firearms, silencers, etc., prohibited; penalties.


       (a) The manufacture, possession, sale, barter, trade, gift, transfer, or acquisition of
       any of the following is prohibited: assault pistols, except as provided by section 134-
       4(e); automatic firearms; rifles with barrel lengths less than sixteen inches; shotguns
       with barrel lengths less than eighteen inches; cannons; mufflers, silencers, or devices
       for deadening or muffling the sound of discharged firearms; hand grenades,
       dynamite, blasting caps, bombs, or bombshells, or other explosives; or any type of
       ammunition or any projectile component thereof coated with teflon or any other
       similar coating designed primarily to enhance its capability to penetrate metal or
       pierce protective armor; and any type of ammunition or any projectile component
       thereof designed or intended to explode or segment upon impact with its target.
       (b) Any person who installs, removes, or alters a firearm part with the intent to
       convert the firearm to an automatic firearm shall be deemed to have manufactured
       an automatic firearm in violation of subsection (a).
       (c) The manufacture, possession, sale, barter, trade, gift, transfer, or acquisition of
       detachable ammunition magazines with a capacity in excess of ten rounds which are
       designed for or capable of use with a pistol is prohibited. This subsection shall not
       apply to magazines originally designed to accept more than ten rounds of
       ammunition which have been modified to accept no more than ten rounds and which
       are not capable of being readily restored to a capacity of more than ten rounds.
       (d) Any person violating subsection (a) or (b) shall be guilty of a class C felony and
       shall be imprisoned for a term of five years without probation. Any person violating
       subsection (c) shall be guilty of a misdemeanor except when a detachable magazine
       prohibited under this section is possessed while inserted into a pistol in which case
       the person shall be guilty of a class C felony.

History



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                                              HRS § 134-8

L 1988, c 275, § 2; am L 1989, c 261, § 6; am L 1989, c 263, § 4; am L 1992, c 286, § 3;
am L 1992, c 286, §§ 3, 4.

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                                 ALM GL ch. 140, § 121
  Current through Chapter 25 of the 2023 Legislative Session of the 193rd General Court
Annotated Laws of Massachusetts > PART I ADMINISTRATION OF THE GOVERNMENT (Chs. 1 - 182) >
TITLE XX PUBLIC SAFETY AND GOOD ORDER (Chs. 133 - 148A) > TITLE XX PUBLIC SAFETY AND
GOOD ORDER (Chs. 133 — 148A) > Chapter 140 Licenses (§§ 1 — 206)



§ 121. Firearms — Definitions; Licensing Authority; Exceptions.


      As used in sections 122 to 131Y, inclusive, the following words shall, unless the
      context clearly requires otherwise, have the following meanings:—
         “Ammunition”, cartridges or cartridge cases, primers (igniter), bullets or
         propellant powder designed for use in any firearm, rifle or shotgun. The term
         “ammunition” shall also mean tear gas cartridges.
         “Assault weapon”, shall have the same meaning as a semiautomatic assault
         weapon as defined in the federal Public Safety and Recreational Firearms Use
         Protection Act, 18 U.S.C. section 921(a)(30) as appearing in such section on
         September 13, 1994, and shall include, but not be limited to, any of the weapons,
         or copies or duplicates of the weapons, of any caliber, known as: (i) Avtomat
         Kalashnikov (AK) (all models); (ii) Action Arms Israeli Military Industries UZI
         and Galil; (iii) Beretta Ar70 (SC-70); (iv) Colt AR-15; (v) Fabrique National
         FN/FAL, FN/LAR and FNC; (vi) SWD M-10, M-11, M-11/9 and M-12; (vi)
         Steyr AUG; (vii) INTRATEC TEC-9, TEC-DC9 and TEC-22; and (viii)
         revolving cylinder shotguns, such as, or similar to, the Street Sweeper and Striker
         12; provided, however, that the term assault weapon shall not include: (i) any of
         the weapons, or replicas or duplicates of such weapons, specified in appendix A
         to 18 U.S.C. section 922 as appearing in such appendix on September 13, 1994,
         as such weapons were manufactured on October 1, 1993; (ii) any weapon that is
         operated by manual bolt, pump, lever or slide action; (iii) any weapon that has
         been rendered permanently inoperable or otherwise rendered permanently unable
         to be designated a semiautomatic assault weapon; (iv) any weapon that was
         manufactured prior to the year 1899; (v) any weapon that is an antique or relic,
         theatrical prop or other weapon that is not capable of firing a projectile and which
         is not intended for use as a functional weapon and cannot be readily modified
         through a combination of available parts into an operable assault weapon; (vi)
         any semiautomatic rifle that cannot accept a detachable magazine that holds more
         than five rounds of ammunition; or (vii) any semiautomatic shotgun that cannot
         hold more than five rounds of ammunition in a fixed or detachable magazine.
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                                 ALM GL ch. 140, § 121

     “Bump stock”, any device for a weapon that increases the rate of fire achievable
     with such weapon by using energy from the recoil of the weapon to generate a
     reciprocating action that facilitates repeated activation of the trigger.
     “Conviction”, a finding or verdict of guilt or a plea of guilty, whether or not final
     sentence is imposed.
     “Court”, as used in sections 131R to 131Y, inclusive, the division of the district
     court department or the Boston municipal court department of the trial court
     having jurisdiction in the city or town in which the respondent resides.
     “Deceptive weapon device”, any device that is intended to convey the presence
     of a rifle, shotgun or firearm that is used in the commission of a violent crime, as
     defined in this section, and which presents an objective threat of immediate death
     or serious bodily harm to a person of reasonable and average sensibility.
     “Extreme risk protection order”, an order by the court ordering the immediate
     suspension and surrender of any license to carry firearms or firearm identification
     card which the respondent may hold and ordering the respondent to surrender all
     firearms, rifles, shotguns, machine guns, weapons or ammunition which the
     respondent then controls, owns or possesses; provided, however, that an extreme
     risk protection order shall be in effect for up to 1 year from the date of issuance
     and may be renewed upon petition.
     “Family or household member”, a person who: (i) is or was married to the
     respondent; (ii) is or was residing with the respondent in the same household;
     (iii) is or was related by blood or marriage to the respondent; (iv) has or is having
     a child in common with the respondent, regardless of whether they have ever
     married or lived together; (v) is or has been in a substantive dating relationship
     with the respondent; or (vi) is or has been engaged to the respondent.
     “Firearm”, a stun gun or a pistol, revolver or other weapon of any description,
     loaded or unloaded, from which a shot or bullet can be discharged and of which
     the length of the barrel or barrels is less than 16 inches or 18 inches in the case of
     a shotgun as originally manufactured; provided, however, that the term firearm
     shall not include any weapon that is: (i) constructed in a shape that does not
     resemble a handgun, short-barreled rifle or short-barreled shotgun including, but
     not limited to, covert weapons that resemble key-chains, pens, cigarette-lighters
     or cigarette-packages; or (ii) not detectable as a weapon or potential weapon by
     x-ray machines commonly used at airports or walk-through metal detectors.
     “Gunsmith”, any person who engages in the business of repairing, altering,
     cleaning, polishing, engraving, blueing or performing any mechanical operation
     on any firearm, rifle, shotgun or machine gun.


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                                 ALM GL ch. 140, § 121

     “Imitation firearm”, any weapon which is designed, manufactured or altered in
     such a way as to render it incapable of discharging a shot or bullet.
     “Large capacity feeding device”, (i) a fixed or detachable magazine, box, drum,
     feed strip or similar device capable of accepting, or that can be readily converted
     to accept, more than ten rounds of ammunition or more than five shotgun shells;
     or (ii) a large capacity ammunition feeding device as defined in the federal Public
     Safety and Recreational Firearms Use Protection Act, 18 U.S.C. section
     921(a)(31) as appearing in such section on September 13, 1994. The term “large
     capacity feeding device” shall not include an attached tubular device designed to
     accept, and capable of operating only with, .22 caliber ammunition.
     “Large capacity weapon”, any firearm, rifle or shotgun: (i) that is semiautomatic
     with a fixed large capacity feeding device; (ii) that is semiautomatic and capable
     of accepting, or readily modifiable to accept, any detachable large capacity
     feeding device; (iii) that employs a rotating cylinder capable of accepting more
     than ten rounds of ammunition in a rifle or firearm and more than five shotgun
     shells in the case of a shotgun or firearm; or (iv) that is an assault weapon. The
     term “large capacity weapon” shall be a secondary designation and shall apply to
     a weapon in addition to its primary designation as a firearm, rifle or shotgun and
     shall not include: (i) any weapon that was manufactured in or prior to the year
     1899; (ii) any weapon that operates by manual bolt, pump, lever or slide action;
     (iii) any weapon that is a single-shot weapon; (iv) any weapon that has been
     modified so as to render it permanently inoperable or otherwise rendered
     permanently unable to be designated a large capacity weapon; or (v) any weapon
     that is an antique or relic, theatrical prop or other weapon that is not capable of
     firing a projectile and which is not intended for use as a functional weapon and
     cannot be readily modified through a combination of available parts into an
     operable large capacity weapon.
     “Length of barrel” or “barrel length”, that portion of a firearm, rifle, shotgun or
     machine gun through which a shot or bullet is driven, guided or stabilized and
     shall include the chamber.
     “Licensing authority”, the chief of police or the board or officer having control of
     the police in a city or town, or persons authorized by them.
     “Machine gun”, a weapon of any description, by whatever name known, loaded
     or unloaded, from which a number of shots or bullets may be rapidly or
     automatically discharged by one continuous activation of the trigger, including a
     submachine gun; provided, however, that “machine gun” shall include bump
     stocks and trigger cranks.


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     “Petition”, a request filed with the court by a petitioner for the issuance or
     renewal of an extreme risk protection order.
     “Petitioner”, the family or household member, or the licensing authority of the
     municipality where the respondent resides, filing a petition.
     “Purchase” and “sale” shall include exchange; the word “purchaser” shall include
     exchanger; and the verbs “sell” and “purchase”, in their different forms and
     tenses, shall include the verb exchange in its appropriate form and tense.
     “Respondent”, the person identified as the respondent in a petition against whom
     an extreme risk protection order is sought.
     “Rifle”, a weapon having a rifled bore with a barrel length equal to or greater
     than 16 inches and capable of discharging a shot or bullet for each pull of the
     trigger.
     “Sawed-off shotgun”, any weapon made from a shotgun, whether by alteration,
     modification or otherwise, if such weapon as modified has one or more barrels
     less than 18 inches in length or as modified has an overall length of less than 26
     inches.
     “Semiautomatic”, capable of utilizing a portion of the energy of a firing cartridge
     to extract the fired cartridge case and chamber the next round, and requiring a
     separate pull of the trigger to fire each cartridge.
     “Shotgun”, a weapon having a smooth bore with a barrel length equal to or
     greater than 18 inches with an overall length equal to or greater than 26 inches,
     and capable of discharging a shot or bullet for each pull of the trigger.
     “Stun gun”, a portable device or weapon, regardless of whether it passes an
     electrical shock by means of a dart or projectile via a wire lead, from which an
     electrical current, impulse, wave or beam that is designed to incapacitate
     temporarily, injure or kill may be directed.
     “Substantive dating relationship”, a relationship as determined by the court after
     consideration of the following factors: (i) the length of time of the relationship;
     (ii) the type of relationship; (iii) the frequency of interaction between the parties;
     and (iv) if the relationship has been terminated by either person, the length of
     time elapsed since the termination of the relationship.
     “Trigger crank”, any device to be attached to a weapon that repeatedly activates
     the trigger of the weapon through the use of a lever or other part that is turned in
     a circular motion; provided, however, that “trigger crank” shall not include any
     weapon initially designed and manufactured to fire through the use of a crank or
     lever.

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            “Violent crime”, shall mean any crime punishable by imprisonment for a term
            exceeding one year, or any act of juvenile delinquency involving the use or
            possession of a deadly weapon that would be punishable by imprisonment for
            such term if committed by an adult, that: (i) has as an element the use, attempted
            use or threatened use of physical force or a deadly weapon against the person of
            another; (ii) is burglary, extortion, arson or kidnapping; (iii) involves the use of
            explosives; or (iv) otherwise involves conduct that presents a serious risk of
            physical injury to another.
            “Weapon”, any rifle, shotgun or firearm.
        Where the local licensing authority has the power to issue licenses or cards under
        this chapter, but no such licensing authority exists, any resident or applicant may
        apply for such license or firearm identification card directly to the colonel of state
        police and said colonel shall for this purpose be the licensing authority.
        The provisions of sections 122 to 129D, inclusive, and sections 131, 131A, 131B
        and 131E shall not apply to:
            (A) any firearm, rifle or shotgun manufactured in or prior to the year 1899;
            (B) any replica of any firearm, rifle or shotgun described in clause (A) if such
            replica: (i) is not designed or redesigned for using rimfire or conventional
            centerfire fixed ammunition; or (ii) uses rimfire or conventional centerfire fixed
            ammunition which is no longer manufactured in the United States and which is
            not readily available in the ordinary channels of commercial trade; and
            (C) manufacturers or wholesalers of firearms, rifles, shotguns or machine guns.

History


1911, 495, §§ 1, 11; 1922, 485, § 1; 1927, 326, § 1; 1934, 359, § 1; 1957, 688, § 4; 1959,
296, § 1; 1960, 186; 1968, 737, § 1; 1969, 799, § 1; 1971, 456, § 1; 1973, 892, § 1; 1983,
516, § 1; 1984, 116, § 1; 1989, 433; 1990, 511, § 1; 1996, 151, §§ 300, 301; 1998, 180, §
8; 1999, 1, § 1; 2004, 150, §§ 1-3; 2014, 284, §§ 19-21; 2017, 110, §§ 18-20, effective
November 3, 2017; 2018, 123, §§ 1-7, effective August 17, 2018.

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                                  ALM GL ch. 140, § 131
  Current through Chapter 25 of the 2023 Legislative Session of the 193rd General Court
Annotated Laws of Massachusetts > PART I ADMINISTRATION OF THE GOVERNMENT (Chs. 1 - 182) >
TITLE XX PUBLIC SAFETY AND GOOD ORDER (Chs. 133 - 148A) > TITLE XX PUBLIC SAFETY AND
GOOD ORDER (Chs. 133 — 148A) > Chapter 140 Licenses (§§ 1 — 206)



§ 131. Firearms — Possession — License to Carry.


      The issuance and possession of a license to carry firearms shall be subject to the
      following conditions and restrictions:
         (a) A license shall entitle a holder thereof of a license to purchase, rent, lease,
         borrow, possess and carry: (i) firearms, including large capacity firearms, and
         feeding devices and ammunition therefor, for all lawful purposes; and (ii) rifles
         and shotguns, including large capacity weapons, and feeding devices and
         ammunition therefor, for all lawful purposes.
         (b) The colonel of state police may, after an investigation, grant a license to a
         club or facility with an on-site shooting range or gallery, which club is
         incorporated under the laws of the commonwealth for the possession, storage and
         use of large capacity weapons, ammunition therefor and large capacity feeding
         devices for use with such weapons on the premises of the club; provided,
         however, that not less than 1 shareholder of the club shall be qualified and
         suitable to be issued a license; and provided further, that such large capacity
         weapons and ammunition feeding devices may be used under the club license
         only by a member that possesses a valid firearm identification card issued
         pursuant to section 129B or a valid license to carry firearms, or by such other
         person that the club permits while under the direct supervision of a certified
         firearms safety instructor or club member who, in the case of a large capacity
         firearm, possesses a valid license to carry firearms or, in the case of a large
         capacity rifle or shotgun, possesses a valid license to carry firearms. The club
         shall not permit shooting at targets that depict human figures, human effigies,
         human silhouettes or any human images thereof, except by public safety
         personnel performing in line with their official duties.
            No large capacity weapon or large capacity feeding device shall be removed
            from the premises except to: (i) transfer the firearm or feeding device to a
            licensed dealer; (ii) transport the firearm or feeding device to a licensed
            gunsmith for repair; (iii) target, trap or skeet shoot on the premises of another

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        club incorporated under the laws of the commonwealth and to transport
        thereto; (iv) attend an exhibition or educational project or event that is
        sponsored by, conducted under the supervision of or approved by a public law
        enforcement agency or a nationally or state recognized entity that promotes
        proficiency in or education about semiautomatic weapons and to transport
        thereto and therefrom; (v) hunt pursuant to chapter 131; or (vi) surrender the
        firearm or feeding device pursuant to section 129D. Any large capacity
        weapon or large capacity feeding device kept on the premises of a lawfully
        incorporated shooting club shall, when not in use, be secured in a locked
        container and shall be unloaded during any lawful transport. The clerk or
        other corporate officer of the club shall annually file a report with the colonel
        of state police and the commissioner of the department of criminal justice
        information services listing all large capacity weapons and large capacity
        feeding devices owned or possessed under the license. The colonel or a
        designee may inspect all firearms owned or possessed by the club upon
        request during regular business hours and the colonel may revoke or suspend
        a club license for a violation of this chapter or chapter 269 relative to the
        ownership, use or possession of large capacity weapons or large capacity
        feeding devices.
     (c) A license to carry firearms shall be valid to own, possess, purchase and
     transfer non-large capacity rifles and shotguns, consistent with the entitlements
     conferred by a firearm identification card issued under section 129B.
     (d) A person residing or having a place of business within the jurisdiction of the
     licensing authority or any law enforcement officer employed by the licensing
     authority or any person residing in an area of exclusive federal jurisdiction
     located within a city or town may submit to the licensing authority or the colonel
     of state police an application for a license to carry firearms, or renewal of the
     same, which the licensing authority or the colonel shall issue if it appears that the
     applicant is neither a prohibited person nor determined to be unsuitable to be
     issued a license as set forth in this section, provided that upon an initial
     application for a license to carry firearms, the licensing authority shall conduct a
     personal interview with the applicant.
        A prohibited person shall be a person who:
           (i) has, in a court of the commonwealth, been convicted or adjudicated a
           youthful offender or delinquent child, both as defined in section 52 of
           chapter 119, for the commission of (A) a felony; (B) a misdemeanor
           punishable by imprisonment for more than 2 years; (C) a violent crime as
           defined in section 121; (D) a violation of any law regulating the use,
           possession, ownership, transfer, purchase, sale, lease, rental, receipt or
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           transportation of weapons or ammunition for which a term of
           imprisonment may be imposed; (E) a violation of any law regulating the
           use, possession or sale of a controlled substance as defined in section 1 of
           chapter 94C including, but not limited to, a violation of said chapter 94C;
           or (F) a misdemeanor crime of domestic violence as defined in 18 U.S.C.
           921(a)(33);
           (ii) has, in any other state or federal jurisdiction, been convicted or
           adjudicated a youthful offender or delinquent child for the commission of
           (A) a felony; (B) a misdemeanor punishable by imprisonment for more
           than 2 years; (C) a violent crime as defined in section 121; (D) a violation
           of any law regulating the use, possession, ownership, transfer, purchase,
           sale, lease, rental, receipt or transportation of weapons or ammunition for
           which a term of imprisonment may be imposed; (E) a violation of any law
           regulating the use, possession or sale of a controlled substance as defined
           in said section 1 of said chapter 94C including, but not limited to, a
           violation of said chapter 94C; or (F) a misdemeanor crime of domestic
           violence as defined in 18 U.S.C. 921(a)(33);
           (iii) is or has been (A) committed to a hospital or institution for mental
           illness, alcohol or substance abuse, except a commitment pursuant to
           sections 35 or 36C of chapter 123, unless after 5 years from the date of the
           confinement, the applicant submits with the application an affidavit of a
           licensed physician or clinical psychologist attesting that such physician or
           psychologist is familiar with the applicant’s mental illness, alcohol or
           substance abuse and that in the physician’s or psychologist’s opinion, the
           applicant is not disabled by a mental illness, alcohol or substance abuse in
           a manner that shall prevent the applicant from possessing a firearm, rifle or
           shotgun; (B) committed by a court order to a hospital or institution for
           mental illness, unless the applicant was granted a petition for relief of the
           court order pursuant to said section 36C of said chapter 123 and submits a
           copy of the court order with the application; (C) subject to an order of the
           probate court appointing a guardian or conservator for a incapacitated
           person on the grounds that the applicant lacks the mental capacity to
           contract or manage the applicant’s affairs, unless the applicant was granted
           a petition for relief of the order of the probate court pursuant to section
           56C of chapter 215 and submits a copy of the order of the probate court
           with the application; or (D) found to be a person with an alcohol use
           disorder or substance use disorder or both and committed pursuant to said
           section 35 of said chapter 123, unless the applicant was granted a petition


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           for relief of the court order pursuant to said section 35 and submits a copy
           of the court order with the application;
           (iv) is younger than 21 years of age at the time of the application;
           (v) is an alien who does not maintain lawful permanent residency;
           (vi) is currently subject to: (A) an order for suspension or surrender issued
           pursuant to sections 3B or 3C of chapter 209A or a similar order issued by
           another jurisdiction; (B) a permanent or temporary protection order issued
           pursuant to said chapter 209A or a similar order issued by another
           jurisdiction, including any order described in 18 U.S.C. 922(g)(8); (C) a
           permanent or temporary harassment prevention order issued pursuant to
           chapter 258E or a similar order issued by another jurisdiction; or (D) an
           extreme risk protection order issued pursuant to sections 131R to 131X,
           inclusive, or a similar order issued by another jurisdiction;
           (vii) is currently the subject of an outstanding arrest warrant in any state
           or federal jurisdiction;
           (viii) has been discharged from the armed forces of the United States
           under dishonorable conditions;
           (ix) is a fugitive from justice; or
           (x) having been a citizen of the United States, has renounced that
           citizenship.
           The licensing authority shall deny the application or renewal of a license to
           carry, or suspend or revoke a license issued under this section if the
           applicant or licensee is unsuitable to be issued or to continue to hold a
           license to carry. A determination of unsuitability shall be based on reliable,
           articulable and credible information that the applicant or licensee has
           exhibited or engaged in behavior that suggests that, if issued a license, the
           applicant or licensee may create a risk to public safety or a risk of danger
           to self or others. Upon denial of an application or renewal of a license
           based on a determination of unsuitability, the licensing authority shall
           notify the applicant in writing setting forth the specific reasons for the
           determination in accordance with paragraph (e). Upon revoking or
           suspending a license based on a determination of unsuitability, the
           licensing authority shall notify the holder of a license in writing setting
           forth the specific reasons for the determination in accordance with
           paragraph (f). The determination of unsuitability shall be subject to judicial
           review under said paragraph (f).


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     (e) Within seven days of the receipt of a completed application for a license to
     carry or possess firearms, or renewal of same, the licensing authority shall
     forward one copy of the application and one copy of the applicant’s fingerprints
     to the colonel of state police, who shall within 30 days advise the licensing
     authority, in writing, of any disqualifying criminal record of the applicant arising
     from within or without the commonwealth and whether there is reason to believe
     that the applicant is disqualified for any of the foregoing reasons from possessing
     a license to carry or possess firearms. In searching for any disqualifying history
     of the applicant, the colonel shall utilize, or cause to be utilized, files maintained
     by the department of probation and statewide and nationwide criminal justice,
     warrant and protection order information systems and files including, but not
     limited to, the National Instant Criminal Background Check System. The colonel
     shall inquire of the commissioner of the department of mental health relative to
     whether the applicant is disqualified from being so licensed. If the information
     available to the colonel does not indicate that the possession of a firearm or large
     capacity firearm by the applicant would be in violation of state or federal law, he
     shall certify such fact, in writing, to the licensing authority within said 30 day
     period.
        The licensing authority may also make inquiries concerning the applicant to:
        (i) the commissioner of the department of criminal justice information
        services relative to any disqualifying condition and records of purchases,
        sales, rentals, leases and transfers of weapons or ammunition concerning the
        applicant; (ii) the commissioner of probation relative to any record contained
        within the department of probation or the statewide domestic violence record
        keeping system concerning the applicant; and (iii) the commissioner of the
        department of mental health relative to whether the applicant is a suitable
        person to possess firearms or is not a suitable person to possess firearms. The
        director or commissioner to whom the licensing authority makes such inquiry
        shall provide prompt and full cooperation for that purpose in any investigation
        of the applicant.
        The licensing authority shall, within 40 days from the date of application,
        either approve the application and issue the license or deny the application
        and notify the applicant of the reason for such denial in writing; provided,
        however, that no such license shall be issued unless the colonel has certified,
        in writing, that the information available to him does not indicate that the
        possession of a firearm or large capacity firearm by the applicant would be in
        violation of state or federal law.
        The licensing authority shall provide to the applicant a receipt indicating that
        it received the application. The receipt shall be provided to the applicant

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        within 7 days by mail if the application was received by mail or immediately
        if the application was made in person; provided, however, that the receipt
        shall include the applicant’s name and address; current license number and
        license expiration date, if any; the date the licensing authority received the
        application; the name, address and telephone number of the licensing
        authority; the agent of the licensing authority that received the application; the
        type of application; and whether the application is for a new license or a
        renewal of an existing license. The licensing authority shall keep a copy of the
        receipt for not less than 1 year and shall furnish a copy to the applicant if
        requested by the applicant.
     (f) A license issued under this section shall be revoked or suspended by the
     licensing authority, or his designee, upon the occurrence of any event that would
     have disqualified the holder from being issued such license or from having such
     license renewed. A license shall be revoked or suspended by the licensing
     authority if it appears that the holder is no longer a suitable person to possess
     such license. Any revocation or suspension of a license shall be in writing and
     shall state the reasons therefor. Upon revocation or suspension, the licensing
     authority shall take possession of such license and the person whose license is so
     revoked or suspended shall take all actions required under the provisions of
     section 129D. No appeal or post-judgment motion shall operate to stay such
     revocation or suspension. Notices of revocation and suspension shall be
     forwarded to the commissioner of the department of criminal justice information
     services and the commissioner of probation and shall be included in the criminal
     justice information system. A revoked or suspended license may be reinstated
     only upon the termination of all disqualifying conditions, if any.
        Any applicant or holder aggrieved by a denial, revocation or suspension of a
        license, unless a hearing has previously been held pursuant to chapter 209A,
        may, within either 90 days after receiving notice of the denial, revocation or
        suspension or within 90 days after the expiration of the time limit during
        which the licensing authority shall respond to the applicant, file a petition to
        obtain judicial review in the district court having jurisdiction in the city or
        town in which the applicant filed the application or in which the license was
        issued. If after a hearing a justice of the court finds that there was no
        reasonable ground for denying, suspending or revoking the license and that
        the petitioner is not prohibited by law from possessing a license, the justice
        may order a license to be issued or reinstated to the petitioner.
     (g) A license shall be in a standard form provided by the commissioner of the
     department of criminal justice information services in a size and shape equivalent
     to that of a license to operate motor vehicles issued by the registry of motor

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     vehicles pursuant to section 8 of chapter 90 and shall contain a license number
     which shall clearly indicate the name, address, photograph, fingerprint, place and
     date of birth, height, weight, hair color, eye color and signature of the licensee.
     The license shall be clearly marked “License to Carry Firearms”. The license
     shall provide in a legible font size and style the phone numbers for the National
     Suicide Prevention Lifeline and the Samaritans Statewide Helpline. The
     application for such license shall be made in a standard form provided by the
     commissioner of the department of criminal justice information services, which
     form shall require the applicant to affirmatively state under the pains and
     penalties of perjury that such applicant is not disqualified on any of the grounds
     enumerated above from being issued such license.
     (h) Any person who knowingly files an application containing false information
     shall be punished by a fine of not less than $500 nor more than $1,000 or by
     imprisonment for not less than six months nor more than two years in a house of
     correction, or by both such fine and imprisonment.
     (i) A license to carry or possess firearms shall be valid, unless revoked or
     suspended, for a period of not more than 6 years from the date of issue and shall
     expire on the anniversary of the licensee’s date of birth occurring not less than 5
     years nor more than 6 years from the date of issue; provided, however, that, if the
     licensee applied for renewal before the license expired, the license shall remain
     valid after its expiration date for all lawful purposes until the application for
     renewal is approved or denied. If a licensee is on active duty with the armed
     forces of the United States on the expiration date of the license, the license shall
     remain valid until the licensee is released from active duty and for a period not
     less than 180 days following the release; provided, however, that, if the licensee
     applied for renewal prior to the end of that period, the license shall remain valid
     after its expiration date for all lawful purposes until the application for renewal is
     approved or denied. Any renewal thereof shall expire on the anniversary of the
     licensee's date of birth occurring not less than 5 years but not more than 6 years
     from the effective date of such license. Any license issued to an applicant born
     on February 29 shall expire on March 1. The fee for the application shall be
     $100, which shall be payable to the licensing authority and shall not be prorated
     or refunded in case of revocation or denial. The licensing authority shall retain
     $25 of the fee; $50 of the fee shall be deposited into the general fund of the
     commonwealth and not less than $50,000 of the funds deposited into the General
     Fund shall be allocated to the Firearm Licensing Review Board, established in
     section 130B, for its operations and that any funds not expended by said board
     for its operations shall revert back to the General Fund; and $25 of the fee shall
     be deposited in the Firearms Fingerprint Identity Verification Trust Fund. For

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     active and retired law enforcement officials, or local, state, or federal government
     entities acting on their behalf, the fee for the application shall be set at $25,
     which shall be payable to the licensing authority and shall not be prorated or
     refunded in case of revocation or denial. The licensing authority shall retain
     $12.50 of the fee, and $12.50 of the fee shall be deposited into the general fund
     of the commonwealth. Notwithstanding any general or special law to the
     contrary, licensing authorities shall deposit such portion of the license application
     fee into the Firearms Record Keeping Fund quarterly, not later than January 1,
     April 1, July 1 and October 1 of each year. Notwithstanding any general or
     special law to the contrary, licensing authorities shall deposit quarterly such
     portion of the license application fee as is to be deposited into the General Fund,
     not later than January 1, April 1, July 1 and October 1 of each year. For the
     purposes of section 10 of chapter 269, an expired license to carry firearms shall
     be deemed to be valid for a period not to exceed 90 days beyond the stated date
     of expiration, unless such license to carry firearms has been revoked.
           Any person over the age of 70 and any law enforcement officer applying for a
           license to carry firearms through his employing agency shall be exempt from
           the requirement of paying a renewal fee for a license to carry.
     (j)
           (1) No license shall be required for the carrying or possession of a firearm
           known as a detonator and commonly used on vehicles as a signaling and
           marking device, when carried or possessed for such signaling or marking
           purposes.
           (2) No license to carry shall be required for the possession of an unloaded
           large capacity rifle or shotgun or an unloaded feeding device therefor by a
           veteran’s organization chartered by the Congress of the United States,
           chartered by the commonwealth or recognized as a nonprofit tax-exempt
           organization by the Internal Revenue Service, or by the members of any such
           organization when on official parade duty or during ceremonial occasions. For
           purposes of this subparagraph, an “unloaded large capacity rifle or shotgun”
           and an “unloaded feeding device therefor” shall include any large capacity
           rifle, shotgun or feeding device therefor loaded with a blank cartridge or blank
           cartridges, so-called, which contain no projectile within such blank or blanks
           or within the bore or chamber of such large capacity rifle or shotgun.
     (k) Whoever knowingly issues a license in violation of this section shall be
     punished by a fine of not less than $500 nor more than $1,000 or by
     imprisonment for not less than six months nor more than two years in a jail or
     house of correction, or by both such fine and imprisonment.

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     (l) The commissioner of the department of criminal justice information services
     shall send electronically or by first class mail to the holder of each such license to
     carry firearms, a notice of the expiration of such license not less than 90 days
     prior to such expiration and shall enclose therein a form for the renewal of such
     license. The form for renewal shall include an affidavit in which the applicant
     shall verify that the applicant has not lost any firearms or had any firearms stolen
     from the applicant since the date of the applicant’s last renewal or issuance. The
     taking of fingerprints shall not be required in issuing the renewal of a license if
     the renewal applicant’s fingerprints are on file with the department of the state
     police. Any licensee shall notify, in writing, the licensing authority who issued
     said license, the chief of police into whose jurisdiction the licensee moves and
     the commissioner of the department of criminal justice information services of
     any change of address. Such notification shall be made by certified mail within
     30 days of its occurrence. Failure to so notify shall be cause for revocation or
     suspension of said license. The commissioner of the department of criminal
     justice information services shall provide electronic notice of expiration only
     upon the request of a cardholder. A request for electronic notice of expiration
     shall be forwarded to the department on a form furnished by the commissioner.
     Any electronic address maintained by the department for the purpose of
     providing electronic notice of expiration shall be considered a firearms record
     and shall not be disclosed except as provided in section 10 of chapter 66.
     (m) Notwithstanding the provisions of section 10 of chapter 269, any person in
     possession of a firearm, rifle or shotgun whose license issued under this section
     is invalid for the sole reason that it has expired, not including licenses that remain
     valid under paragraph (i) because the licensee applied for renewal before the
     license expired, but who shall not be disqualified from renewal upon application
     therefor pursuant to this section, shall be subject to a civil fine of not less than
     $100 nor more than $5,000 and the provisions of section 10 of chapter 269 shall
     not apply; provided, however, that the exemption from the provisions of said
     section 10 of said chapter 269 provided herein shall not apply if: (i) such license
     has been revoked or suspended, unless such revocation or suspension was caused
     by failure to give notice of a change of address as required under this section; (ii)
     revocation or suspension of such license is pending, unless such revocation or
     suspension was caused by failure to give notice of a change of address as
     required under this section; or (iii) an application for renewal of such license has
     been denied. Any law enforcement officer who discovers a person to be in
     possession of a firearm, rifle or shotgun after such person’s license has expired,
     meaning after 90 days beyond the stated expiration date on the license, has been
     revoked or suspended, solely for failure to give notice of a change of address,
     shall confiscate such firearm, rifle or shotgun and the expired or suspended
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          license then in possession and such officer, shall forward such license to the
          licensing authority by whom it was issued as soon as practicable. The officer
          shall, at the time of confiscation, provide to the person whose firearm, rifle or
          shotgun has been confiscated, a written inventory and receipt for all firearms,
          rifles or shotguns confiscated and the officer and his employer shall exercise due
          care in the handling, holding and storage of these items. Any confiscated weapon
          shall be returned to the owner upon the renewal or reinstatement of such expired
          or suspended license within one year of such confiscation or may be otherwise
          disposed of in accordance with the provisions of section 129D. The provisions of
          this paragraph shall not apply if such person has a valid license to carry firearms
          issued under section 131F.
          (n) Upon issuance of a license to carry or possess firearms under this section, the
          licensing authority shall forward a copy of such approved application and license
          to the commissioner of the department of criminal justice information services,
          who shall inform the licensing authority forthwith of the existence of any
          disqualifying condition discovered or occurring subsequent to the issuance of a
          license under this section.
          (o) No person shall be issued a license to carry or possess a machine gun in the
          commonwealth, except that a licensing authority or the colonel of state police
          may issue a machine gun license to:
             (i) a firearm instructor certified by the municipal police training committee
             for the sole purpose of firearm instruction to police personnel;
             (ii) a bona fide collector of firearms upon application or upon application for
             renewal of such license.
             Clauses (i) and (ii) of this paragraph shall not apply to bump stocks and
             trigger cranks.
          (p) The commissioner of the department of criminal justice information services
          shall promulgate regulations in accordance with chapter 30A to establish criteria
          for persons who shall be classified as bona fide collectors of firearms.
          (q) Nothing in this section shall authorize the purchase, possession or transfer of
          any weapon, ammunition or feeding device that is, or in such manner that is,
          prohibited by state or federal law.
          (r) The secretary of the executive office of public safety or his designee may
          promulgate regulations to carry out the purposes of this section.

History



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1906, 172, § 1; 1911, 548, § 1; 1919, 207, § 1; 1922, 485, § 9; 1925, 284, § 4; 1927, 326, §
3; 1936, 302; 1951, 201; 1953, 319, § 20; 1953, 454; 1957, 688, § 15; 1959, 296, § 6;
1960, 293; 1969, 799, § 11; 1972, 415; 1973, 138; 1973, 892, § 7; 1974, 312; 1974, 649, §
1; 1975, 4, § 1; 1975, 113, § 1; 1984, 420, § 2; 1986, 481, § 2; 1987, 465, § 33; 1994, 24, §
3; 1996, 151, §§ 325-329; 1996, 200, § 28; 1998, 180, § 41; 1998, 358, §§ 6-9; 2002, 196,
§ 22; 2002, 513, § 2; 2003, 26, § 429; 2003, 46, § 103; 2004, 150, §§ 10-16; 2008, 224;
2010, 256, § 97; 2010, 466, § 3; 2011, 9, §§ 16, 17; 2014, 284, §§ 46-57; 2017, 110, § 21,
effective February 1, 2018; 2018, 123, §§ 11, 12, effective August 17, 2018; 2022, 175, §§
4-17A, effective August 10, 2022.

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      vent the state treasurer from deducting at any time, from          Deduction of

      any moneys which may be due from the commonwealth to money'due
      the dehnquent city or town, the whole or any part of said [^"^^^'^fth
      tax, with the interest accrued thereon, which shall remain
      unpaid.                         Approved April 27, 1927.

      An Act relative to the choice of a third member of Chap:S25
                   THE state board OF RETIREMENT.
        Whereas, The deferred operation of this act would in Emergency
                                                                     p''^™'^'«
      part defeat its purpose, therefore it is hereby declared to be
      an emergency law, necessary for the immediate preservation
      of the public convenience.


      Be it enacted, etc., as follows:
         Chapter ten of the General Laws is hereby amended by g. l. lo, § is,
                                                                      ^™®"'i®'^-
      striking out section eighteen and inserting in place thereof
      the following:
            .
                  °
                      — Section 18.
                          .    .,   ,
                                      There shall be a state board °'
                                                        •   •
                                                             r J.1
                                                                      state board
                                                                         retirement,
      of retirement serving in the department, consisting oi three members,
                                                                      ^'^^^^°^-
      members, one of whom shall be the state treasurer,  ex officio,
      who shall be chairman, a second member elected by the
      state retirement association established under section two
      of chapter thirty-two from among their number in such
      manner as the commissioner of insurance may determine,
      and a third member chosen by the other two. If the third
      member is not so chosen within thirty days after the election
      of the second, the governor shall appoint the third member
      for a term of three years.  Upon the expiration of the term Expirations
                                                                    andvacanciea.
      of office of an elected, chosen or appointed member or in
      case of a vacancy in either of said offices, his successor shall
      be elected, chosen or appointed as aforesaid for three years.
                                        Approved April 27, 1927.

      An Act relative to machine guns and other firearms Chap.326
      Be it enacted, etc., as follows:
         Section 1. Chapter one hundred and forty of the g. l. ho,
      General Laws, as amended in section one hundred and amended"
      twenty-one by section one of chapter four hundred and
      eighty-five of the acts of nineteen hundred and twenty-two,
      is hereby further amended        by striking out said section
      one hundred and twenty-one and inserting in place thereof
      the following:  —  Section 121.   In sections one hundred and P|^^^*m8"'°^
      twenty-two to one hundred and twenty-nine, inclusive,
      "firearms" includes a pistol, revolver or other weapon of
      any description, loaded or unloaded, from which a shot
      or bullet can be discharged and of which the length of
      barrel, not including any revolving, detachable or magazine
      breech, does not exceed twelve inches, and a machine gun,
      irrespective of the length of the barrel.    Any gun of small Definition of       ^^


      arm calibre designed for rapid fire and operated by a mecha-
      nism, or any gun which operates automatically after the
      first shot has been fired, either by gas action or recoil action,

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    414                               Acts, 1927.   — Chap. 326.
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                     shall be deemed to be a machine gun for the purposes of
                     said sections, and of sections one hundred and thirty-one
    Words "pur-      and one hundred and thirty-one B. As used in this section
    chase" and
    "sale" to        and in sections one hundred and twenty-two to one hundred
    include ex-
    change, word
                     and thirty-one A, the words "purchase" and "sale" shall
    "purchaser" to   include exchange, the word "purchaser" shall include
    include ex-
    changer, and     exchanger, and the verbs "sell" and "purchase", in their
    verbs "sell"     different forms and tenses, shall include the verb exchange
    and " pur-
    chase" to        in its appropriate form and tense.    Said sections one hun-
    include verb
    exchange.        dred and twenty-two to one hundred and twenty-nine,
    Sections not     inclusive, shall not apply to antique firearms incapable
    applicable to
    certain          of use as firearms nor to sales of firearms at wholesale.
    firearms.
                        Section 2. Said chapter one hundred and forty, as
    G. L. 140.
    § 123, etc.,     amended in section one hundred and twenty-three by section
    amended.         four of said chapter four hundred and eighty-five, by section
                     one of chapter two hundred and eighty-four of the acts of
                     nineteen hundred and twenty-five and by section one of
                     chapter three hundred and ninety-five of the acts of nineteen
                     hundred and twenty-six, is hereby further amended by
                     striking out said section one hundred and twenty-three
    Conditions of
    licenses to
                     and inserting in place thereof the following:  — Section 123.
    sell,rent or     The license shall be expressed to be and shall be subject
    lease certain
                     to the following conditions:   First, That the provisions in
    firearms.
                     regard to the nature of the license and the building in which
                     the business may be carried on under it shall be strictly
                     adhered to. Second, That every licensee shall before
                     delivery of a firearm make or cause to be made a true entry
                     in a sales record  book to be furnished by the licensing au-
                     thorities and to be kept for that purpose, specifying the
                     description of the firearm, the make, number, whether single
                     barrel, magazine, revolver, pin, rim or central fire, whether
                     sold, rented or leased, the date and hour of such delivery,
                     and shall, before delivery as aforesaid, require the purchaser'
                     renter or lessee personally to write in said sales record
                     book his full name, sex, residence and occupation. The
                     said book shall be open at all times to the inspection of the
                     licensing authorities and of the police.      Third, That the
                     license or a copy thereof, certified by the recording officer of
                     the licensing authorities or by the clerk of the town by
                     which it is issued, shall be displayed on the premises in
                     a position where it can easily be read. Fourth, That no
                     firearms shall be displayed in any outer window of said
                     premises or in any other place where they can readily be
                     seen from the outside. Fifth, That the licensee shall, once
                     a week, send a copy of the record of sales, rentals and leases
                     made by him for the preceding seven days to the licensing
                     authorities and to the commissioner of public safety.     Sixth,
                     That every firearm shall be delivered securely wrapped and
                     fastened and shall be unloaded when delivered. Seventh,
                     That no delivery of a pistol or revolver shall be made on
                     the day of application for the purchase, rental or lease
                     thereof, except to a person having a license to carry the

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                    Acts, 1927.
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                                   — Chap. 326. Filed: 08/28/2023415 Pag
     same   issued under section one hundred and thirty-one. Conditions of
     Eighth, That no pistol or revolver shall be sold, rented 8ei1"?l^tor
     or leased to a person who has not a permit, then in force, IfrX^^^'"
     to purchase, rent or lease the same issued under section
     one hundred and thirty-one A, and that no machine gun
     shall be sold, rented or leased to a person who has not a license
     to possess the same issued under section one hundred and
     thirty-one.    Ninth, That upon a sale, rental or lease of
     a pistol or revolver, the licensee under section one hundred
     and twenty-two shall take up such permit and shall endorse
     upon it the time and place of said sale, rental or lease, and
     shall forthwith transmit the same to the commissioner of
     public safety, and that upon the sale, rental or lease of
     a machine gun shall endorse upon the license to possess
     the same the time and place of said sale, rental or lease,
     and shall forthwith transmit a notice thereof to said com-
     missioner.    Tenth, That this license shall be subject to
     forfeiture as provided in section one hundred and twenty-
     five for breach of any of its conditions, and that, if the
     licensee hereunder is convicted of a violation of any such
     condition, this license shall thereupon become void.
        Section 3. Section one hundred and thirty-one of said j^ij^etc'
     chapter one hundred and forty, as amended by section nine amended.'
     of said chapter four hundred and eighty-five and by section
     four of said chapter two hundred and eighty-four, is hereby
     further amended by inserting after the word "common-
     wealth" in the twelfth line the words:        —  or to possess
     therein a machine gun,   — so as to read as follows:  — Section License to
     ISl.   The justice of a court or a trial justice, the board of orrevoivers!
     police or mayor of a city, the selectmen of a town, or the machine-gun,
     commissioner of public safety, or persons authorized by issuance to
     them, may, upon the application of any person residing sons^etc.^'^
     or having a place of business within the jurisdiction of the
     person or body issuing the license, except an unnaturalized
     person, a person who has been convicted of a felony or of
     the unlawful use or sale of drugs or a minor other than one
     fifteen years of age or over in the employ of a bank, public
     utility corporation or business of a similar nature whose
     application is endorsed by his employer, issue a license to
     such applicant to carry a pistol or revolver in the common-
     wealth or to possess therein a machine gun, if it appears
     that he has good reason to fear an injury to his person or
     property or for any other proper purpose, and that he is
     a suitable person to be so licensed.     Such license shall be Duration of
     issued for a term not to exceed one year, but may be for
                                                                     ''<=®'^^®-



     a less period, and all such licenses shall be revocable at the Revocation,
     will of the person or body issuing the same, who shall forth-
     with send written notice of such revocation to the commis-
     sioner of public safety.    Said licenses shall be issued on Form, etc.
     forms furnished by said commissioner and a copy of every
     license so issued shall within one week after the granting
     thereof be sent to the said commissioner.      Whoever issues Penalty.

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     416                              Acts, 1927.             — Chap. 326.
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                       a license in violation of this section shall be punished by
                       imprisonment for not less than six months nor more than
                       two years in a jail or house of correction.
     G. L. 140,
     §   131B, etc.,
                          Section 4. Section one hundred and thirty-one B
     amended.          of said chapter one hundred and forty, inserted by section
                       three of said chapter three hundred and ninety-five, is
                       hereby amended by striking out the word "or" where it
                       occurs a second time in the second line and inserting in
                       place thereof a comma and also by inserting after the word
                       "revolver" in the same line the words:       —
                                                                  or machine gun,      —
     Penalty for
     loans of money
                       so as to read as follows:          —
                                                     Section 131B.    Whoever loans
     on pistol,        money secured by mortgage, deposit or pledge of a pistol,
     revolver or
     machine gun.      revolver or machine gun shall be punished by a fine of not
                       more than five hundred dollars or by imprisonment for not
                       more than one year, or by both.
     G. L. 269,
     § 10, etc.,
                          Section 5. Section ten of chapter two hundred and
     amended.          sixty-nine of the General Laws, as amended by section
                       one of chapter two hundred and forty-eight of the acts of
                       nineteen hundred and twenty-three and by section five of
                       said chapter two hundred and eighty-four, is hereby further
                       amended by inserting after the word "unloaded" in the
                       third line the words   :
                                                  —or possesses a machine gun as
                                                      ,


                       defined in section one hundred and twenty-one of chapter
                       one hundred and forty,             —
                                                    so as to read as follows       :
                                                                                       —
     Penalty for
    carrying           Section 10.  Whoever, except as provided by law, carries
     dangerous         on his person, or carries on his person or under his control
    weapons or
    possessing         in a vehicle, a pistol or revolver, loaded or unloaded, or
     machine gun
     without per-      possesses a machine gun as defined in section one hundred
    mission, etc.      and twenty-one of chapter one hundred and forty, without
                       permission under section one hundred and thirty-one of
                       chapter one hundred and fort}'^, or whoever so carries any
                       stiletto, dagger, dirk knife, slung shot, metallic knuckles
                       or sawed off shotgun, or whoever, when arrested upon a
                       warrant for an alleged crime or when arrested while com-
                       mitting a crime or a breach or disturbance of the public
                       peace, is armed with, or has on his person, or has on his
                       person or under his control in a vehicle, a billy or dangerous
                       weapon other than those herein mentioned, shall be punished
                       by imprisonment for not less than six months nor more than
                       two and one half years in a jail or house of correction or
                       for not less than two and one half years nor more than five
    Confification.     years in the state prison, and upon conviction the pistol
                       or other article shall be confiscated by the commonwealth.
    Forwarding to
    commissioner       The pistol or article so confiscated shall, by the authority
    of public          of the written order of the court or trial justice, be forwarded
    safety, etc.
                       by common carrier to the commissioner of public safety,
                       who, upon receipt of the same, shall notify said court or
                       justice thereof.   Said commissioner may sell or destroy
                       the same, and, in case of a sale, after paying the cost of
                       forwarding the article, shall pay over the net proceeds to
                       the commonwealth.                  Approved April 27, 1927.


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                       -           . -
                       f   l    ~"._,


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               ,   ,              PUBLIC ACTS
                                                  OF



       THE 'LEGISLATURE
                                               OF THE


              STATE OF MICHIGAN
                                          PASSED AT THE


              REGULAR SESSION OF 1927
        CONTAINING JOINT RESOLUTIONS AND AMENDMENTS
                     TO THE CONSTITUTION




                                             COMPILED BY
                                         JOHN S. HAGGERTY                 r -
                                          SECRETARY OF STATE


                                        LANSING, MICHIGAN.
                               ROBJDR'r NMITH CO•• STATI2 PRINTJaR8.
                                               192'1.



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       other purpose. Such persons shall hold office during the term
       of their employment by the state highway depal"tment but
       the authority herein vested shall cease upon tbe termination
       of such emploYnJent. The persons so appointed shall by
       reason of such appointment be members of the department
       of public safety during the terms of such appointment but
       shall serve wi thout pay as members thereof.
         Approved June 2, 1927.




                                 [No. 372.]
       AN ACT to regulate and license the selling', purchasing, pos-
         sessing and carr:ring of certain firearms; to prohibit the
         buying, selling or carrying of certain llreal'IDs without a
         license therefor; to prohibit the possession of certain
         weapons and attachments; to prohibit the pawning of cer-
        tain firearms; to prohibit the sale, offering for sale, or
        possession for the purpose of sale of written or printed
        matter containing any offer to sell or deliver certain fire-
        arms or devices within this state; to provide penalties for
        the violations of this act, and to repeal act :3umb'er two
        hundred seventy-four of the public acts of nineteen hundred
        eleven, being sections fifteen thousand two hundred thirty-
        six, fifteen thousand two hundred thirty-seven, fifteen thou-
        sand two hundred thirty-eight, fifteen thousand two hun-
        dred thirty-nine, fifteen thousand two hundred forty, fif-
        teen thousand two hundred forty-one, fifteen thousand two
        ilundred forty-two, fifteen thousand two hundred forty·
        three, fifteen thousand two hundred forty-four. fifteen
        thousand two bundred forty-five and fifteen thousand two
        hundred forty-six of the compiled laws of nineteen hundred
        fifteen; act number three hundred thirteen of the public
        acts of nineteen hundred twenty-five; and section sixteen
        of chapter one hundred sixty-two ~f the revised statutes of
        eighteen hundred forty-six. beinK section fifteen thousand
        six hundred forty-one of the compiled laws of nineteen hun-
        dred fifteen.
               The- People of tiLe State   ot Michigan enact:
        SECTION 1. The word "pistol" as u~ed in this a~t sho n Words
      mean any tlrearm, loaded or unloaded, thirty inches or less in defined.
      length. 'l'he word "purchaser" shaH mean any per~on who
      receives a piAtol from another by purchase, gift or loan. The
      word "sel1pr" shall menn any person ,vho sells, furnishes,
      loans or gives a pistol to another.
        BEC. 2. No person shall purchase a pistol as defined in License
      this act without first having obtained a license therefor as ::~r:ise.
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                         prescribed herein. The commissioner or chief of poliee, or
                         his duly authorized deputy, in incorporated cities or in in-
                         corporated villages having an organized department of police.
                         and the sheriff, or his authorized deputy, in parts of the re~
                         spective counties not included within incorporated cities or
                         villages, are hel'cb:v authorized to issue licenses to purchase
                         pistols to applicants rcsidin~ within the l'cspecth-e territorips
          To whom
          granted.
                         herein mentioned. No such license shall be A"ranted to anJ
                         pcr30n except he be nineteen :rears of age or over, and has
                         resided in this state six months or more, and in no
                         event shall such a license be issued to a person who has been
                         convicted of a felony or adjudged insane in this state or else-
                         where. Applications for such licenses shall be si~ned          oy   the
                         applicant under oath upon forms provided b.y the commis-
          Executed       sioner of public safet.y. Licenses to purchase pistols shall
          in duplicate. be executed in duplicate upon forms provided by the com-
                         missioner of public safety and shall be signed by the licensing
                         authority. One copy of such license shall he delivered to the
                         applicant and the duplicate of such license shall .b'e retained
                         by such licensing authol'ity as a permanent official record for
                         a period of six years. Such license shall be void unless used
          Misde-         within ten days after the date of its issue. An)' person who
          meanor:
          penalty.       shall sell to another any pistol as defined in this act without
                         complying with the requirements of this section shall be
                         guilty of a misdemeanor and upon conviction thereof shall
                         be punished by a fine of not more than one hundred dollars
                         or imprisonment in the county jail not more t~an ninety da.v8.
                         or both such fine and iluprisonment in the discretion of the
                         court. Such license shall be signed in ink by the holder
                         thereof in the presence of the person selling, loaning or giving
                         a pistol to such licensee and shall thereupon be taken up by
                         such person, signed by him in ink and shall be delivered or
                         sent by registered mail within fort,y-eight bours to the com-
                         missioner of public safety. The seller shall cel,tify upon said
                         license in the space provided therefot" the name of the person
                         to whom such pistol was delivered, the luake, style. calibre-
                         and number of such pistol, and shall further certify that such
                         purchaser signed his name on said license in the presence of
                         the seller. The provisions of this sect.ion shaH not ap})l~" to
                         the purchase of pistols from wholesalers by dealers regularly
                         eugaged in the business of selling- pistols at retail, nor to the
                         sale, bartet" or exchanp:e of pistols kept solel~' ns relics, sou..
                         venirs or curios.
          Unlawtul to       SEC. 3.    It shall be unlawful within this stnte to Jnann-
          ~~~~u~:~:~ri' facture, sell, offer for sale, 01" }lOSSeSS finy Jnnchine gnu or
          ftrcarms, etc. firearm whidl can he fired Jnol'C thnn sixt.e()Jl tinteR without
                         l'eloadillg, 01) un.y mnffler, Milenccl' 01' de\'lcc fol' deudetling or
                         muffling the sound of fi dis('hal'~(~d firearnl, OJ' auS bOlnb or
                         bomhshell, or nH.Y blnekjupk, !olh1l1~ Rhot, hill~', metallic
          Penulty tor klllwklm~, foI:UHlpltlh, MHIHllmg- 01' f)lntl~poll. ..A1l~. p('r~ou eon-
          vlolnUon.      victed of u violation of H1L~ Rcetioll ~hnll he ~nilt..r of n fclon~'
                         nnd ~hn 1I he pH nished hy a flne not excecdiuA' nne thousand

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     dollars or inlpri~ollment in the state prison not more than five
     yeal'~, Ol~ by both such tIne and imprisonment in the discre-
        tion of the court. 'l'he pl'ovisions of this section shaH not
        apply, however, to any person, firm or corporation manufac-
        turing til'eal'nls, explo!":ives 01' mlluitione of war hy virtue of
        any contracts with any (lepal'tnlCnt of the government of the
        United States, or with any foreign government, state, munid-
       pa lity (,1' any subdivision thereof.
           Sgc. 4. Any person who, with intent to use the Rume UD- Felony.
       lawfully against the person of anotller, goes armed with a ~e~~ed.
       pistol 01' OthCl' fireal'Ill 01' daggett, dirk, razo.', stiletto, or knife
       }laving a blade o\'er three inches in lell~th. or any other dan-
       gerous 01' deadly weapon or inst!'llment, shall he ~uiltJ of S1 Pena1t)~ ...
       felolly and on cou,'iction thereof shall h'e punislled by a fine
       not exceeding one thousand dollars 01' imprisonment in the
       8tatc prison for not lllOI'C than five JeaI's, or by both such
       fine and imprisonment in the discretion of the court.
          SEC. 5. No person shall carl'y n dagger, dirk, stiletto or Unlawful to
       othet dangerous weapon except hllntin~ knh·es adapted and ~:~~r.et:ic.
           t



       carried as such, concealed on or about his person, or whether
       concealed or otherwise in any veJlicle operated or occupied
      by him, except in his dwellin~ house or place of business or
      on other land possessed by him. No person shall carr)" a
      pistol concealed on or about his persOll, or, whether concealpd
      or otllel'wise, in any vehicle operated or occupied h~· him,
      except in his dwelling house or place of business Ot' on otllPl'
      land possessed hy him, without a . license therefor as herein
      provided. Any person violating the provisions of this section
      shall be guilty of a felony and upon conviction thereof shall
      be punished by a fine not exceeding one thousand dollars or
      imprisonment in the state prison- for not more than five years,
      or by both such fine and imprisonment in the discretion of the
      court.                                           .
          SEC, 6. The prosecuting nttorney, the commissioner or Concealed
      chief of police and the commissioner of public safet.v or their ~:~~g
      respective authorized depl1ti~s in incorpol'fite<} cities or in board.
    incorporated vilIngeR haring an organized department of
     police, and tIle prosecuting nttol'ne,r, the commissioner of
     public safety Ot' their nutllo1'ized deputies, nnd the sheriff.
     under·shel'iff or chief deputy sheriff in PHI'fR of th(l resl)ectin~
     (~ounties not ineh.lded within incorpornted ('itit~R" 01' \'illnA'(\~
    "'lInll constitute bonl'(l~ exeluli(h-el,Y H.l1t.hol'ized to hou~u(~ 1if'en~(\~
    1'0 carl',V pistols con(,(~H1('4) on the pm'soll to n)lplienuh~ r(l~id·
     j n~ withi Il the l'eHlw~ti\'(~ 1t~l'l'i hll'if'R h~l'('in nwn nOllC'}.          Tlw
    NHJnf',V (~)(~I'k of (lneh _(~()111l"''' ~holl li(~ ('It'l'l\: of ~lH'h H(t(llUdnJ.t
    h(HlI'd~, wlli('h l)(Ull'd~ HhnlJ 1)(~ known in lnw fiM "'J'h(~ Con-
    (~(ln.lt~(l 'V('II(lOIl l~i()(mHin#o( Bwu'd,"         No folt1('h IipNlfo1e to ('nrr~' To wbom
    11 pitoltu) ('oIH'(!n)(!/l OJ) t,h(! IH'I'I'/Ol\ "dlllll he ~I'nnt~(l 1u :lily per· ~:::~~:cI.
    HOII (lX('(~Jlt hn I)(~ IlhWj(I('ll ,Yt'I.II'l'4 or n~(' HI' ()"(~t' nnd hnR "(lNidetl
    ill OliN Minl(! Mix lIWIlUUot 01' O\'(ll', Hlld ill uo ("'elll Nhnll Ru('h
    li('Nlji(~ IJt~ iMMlIptl lIfllt'tolN it nplwurM fhltt the npplknnt: hns
    ~o()(l l'enfoHHl to f(lnr iuju1'.\' io hiM Ill~rHon ot' 1)I'()Jl(,I·t."~ 01' hm~


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                        other proper reasons, and that be is a suitable pertron to be
                        so licensed, and in no event to a person who has b'een con·
                        victed of a felony or adjudged insane in this state or else-
           Chairman     where. The prosecnting attorney shall be the chairman of
           of board.    the said board, which shall convene at least once in each
                        calendar month and at suell other times as tbev sball be
                        called to convene by the chairman. Such licenses shaH be
                        issued only upon written application signed by the applicant
                        and on his oath and upon forms provided by the co~mi88ioner
                        of public safety. Such licenses shall issue only with the ap·
                        proval ~f a majority of said b'oard and sball be executed in
                        triplicate upon forms provided by the commissioner of public
                        safety and shall be signed in the name of the concealed
                        weapon licensing board by the county clerk and the seal of
                        the circuit court affixed thereto. One copy of such lice,use
                        shall be delivered to the applicant, the duplieate of said
                        license shall be retained by the county clerk 8S a permanent
                        official record for a period of six years, and the triplicate of
                        such license shall be forwarded to the commissioner of public
                       safety who shall file and index licenses so received by him
                       and keep the same as a permanent official record for a period
          DuratIon     of six years. Each license shall be issued for a· definite period
          of license.  of not more than one year, to be stated in the license. and no
                       renewal of such license shall be granted except upon the ftling
                       of a new application. Every license issued hereunder shall
                       bear the imprint of the right thumb' of the licenRee, or, if
                       that be not possible, of the left thumb or some other finger of
                       such licensee. Such licensee shall carry 8uch lieenf!le upon his
                       person at all times when he may be carrying a pistol con-
                       cealed upon his person and shall display such lieenlle upon
                       the request of any peace officer.
          When license
          to expire,
                           SEC. 7. All licenses heretofore issued in this state per
                       mitting a person to carry a pistol concealed upon his persoD
                       shall expire at midnight, December thirty-one, nineteen htm..
                       dred twenty-seven. .
          When Jlcense     SEC. 8. The licensing board herein created by aection six
          revoked.     may revoke any license issued by it upon receiving a certileate
                       of any magistrate showing that such licensee has been con..
                       victed of violating any of the provisloDs of tbis act, or us
                       heen convicted ot'a felony. Such license may also be revoked
                       whenever in the judgment of said bosr\l tbe reason for grant..
                       fog such license shall have ccased to exist, or whenever _id
                       board shall fer any reasonable cause determine aid 1i~Deee
                       to be an unfl t person to carr.v a pistol concealed upon hl8
                     IK:rson.   No such license shall be revoketl except upon written
                     (~olnplalnt ond then only after a    hea.rinl( by sald board, of
                     whIch at le8'St seven dayst notice shalt be given to the Ueentee
                     eHher by persoDal service or by registered malt to hi. last
                     known addljcll. The clerk of said liceosinR board is hereby
                     Authorized to administer an oath to Rny )ler!'tlR testifying
                     before Inch bORr(l At (luy Bueh heftl'log.

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          SEC. 9. On 01" befol"e the first day of Novemlier, nineteen sateffc" in-
       hundred twenty-seven, any person within this state who own~ ~:;JWon~. of
       or has in his possession a pistol as defined in this act, shall,
       if he reside in an incorporated cit.V 01' an inCOl'pOl'ated vil-
       lage having an organized police department, present 8t1c·h
       weapon for safety inspection to the commissioner or chief of
       police of such city or village; if such person reside in a paJ't
       of the county not included within the corporate Jimih; of
       such city or village he shall so present snch ph;tol for safety
       inspection to tbe sheriff of such count~r. Any per~oJl owning
       or coming into possession of a pistol after the first day of
       November, ninetecn huudred twenty-f'leven, shall forthwith
       present such pistol for safety inspection in the manuel' pro-
       vided ill this section. A cel"tiflcate of inspection shall there· Certificate
       upon be issued in triplicate on a form provided by the com- tssue(J.
       missionel of public safety, co; ~ taining the name, age, address,
                t


       description and signature of the person presenting such
       pistol for inspection, together with a full description thereof;
       the original of such certificate shall be delivered to tlle reJ!'is-
       trant; the duplicate thereof shall b'e mailed to the commis-
       sioner of public safety and filed and indexed by him and kept
       as a permanent official record for a period of six years, and
       the triplicate of such certificate shall be retained and fllc(}
       in the omce of said sheriff, or commissioner or chief of police.
       as the case may be. The provisions of this section shall not
       apply to wholesale or retail dealers in llrearlns or to collec-
       tions of pistols kept solely for the purpose of display, 3S
      l"elics, souvenirs, curios or antiques, nor to weapons her(ltofor~
      registered under the provisions of section eleven of act nUU1-
       her three hundred thirteen of the public acts of nineteen h'iJl-
       dred twenty~llve. Any person who fails to comply witb the
      provision of this section shall be guilty of a misdemeanor
      and sball be punished' by a :fine not exceeding one hundre(l
      dollars or imprisonment in the county jail not exceeding
      ninety days~ or by both such :fine and imprisonment in the
      discretion of the COUl't.
         SEC. 10. No pawnbroker shall accept a pistol in pawn. PIstol not
      Any person violating this section of this act shall he (leelned
      guilty of a misdemeanor and upon cOD\'iction thereof 8hall
                                                                         ::ted    In

      be punished by a fine of not more than one hundt"ed (10] hU'K
      or bnprisonment in the county jaiJ for not InOI'e than nillet~~
      ()Oy8 or by both such flne Bud impl'iAOnmcnf" in the (1iM(~l'{:tion
      of the court,
         Bme. 11. No }>el'soll shnll wilfnll.y niter, reUl0\'C or ohtih\r· Altcl'aUon
      ute the name of the Dlakel Jnodel, Innnufnctul"eI'~S llnmhN' or r~w~:~~Ol un-
                                  t
                                      ,

      other mal'k of identit,V of Illly ,pistol. l)ossession of any such
      tlrearnl upon whIch the numbm' shall have been altel'ed.•'(~'
      moved or oblfterated, shall be presllmntive evidence that su... h
      possessor haft nHered. removed or obliterated the same. An~'
      person ~ollvJct@d ulltler thIs section shall be )lunished b~· n
      fine not to excec(l five hnndrc(} .1ollnrs 0.' h.y impri~onnw·tlt


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           892                          PUBLIC ACTS, 1927-Ko. :H2,

                         in the state }WifoiOn not to ex~eed two Yt:'aJ'8 01· IJJ" lJ01 h su('h
                         fine and iDlIJrisOlllneut in the difo;(Tetion of the court.
           Exceptions       SEC, 12, The provisions of section two, tllJ'{'~, five aud nine
           to act.
                         shall not applj' to an)' peaee offieel' of the state 01- any ~uh­
                         division thel'cof who is regularly eml']()~'cd and Imid Ij." the
                         Htate or Hueh sulJdivilo;ion, 01' to nil." Iuculber of the- :Irm)",
                         nav,Y ,01' luarine corpI'; of the United 8tah~8, or of organizations
                         authorized b.r law to purchase 01' receive weapons from the
                         Uuited States 01' from this state, nor to the national guard or
                         other duly authol'ized udlitary org:lnizations when on duf."
                         or drill, llor to the JuemlJ'el'S thereof in goinK to or returning
                         from their cURt,omal'J' p]uect; of aHfo:(~Jnhl.r or IH'aetic(l, nor to a
                         pe1'80n li('eJH~ed to carr.r a )Jistol concealed upon his person
                        issued b.r another Htate, 1101' to the regular and ordiualoJ trans-
                        portation of phltols a~ JnerdUlnclise, 01' to any person whiJ(~
                        carr,ring a pistol unloaded in a, wrapper from tbe IJlace of
                        purchase to his borne or place of bllHin{'~8 01' to a I,)at'e of
                        l'€pair or back to I,lis home or place of business, or in mo,·ing
                        goods fronl one place of abode or business to another.
           When un·         SEC. 13,        'Vhen conll'laint shall be made on oath to an)·
          lawtully
          possessed.    magistrate authorized to issue warrants in criminal ea.~
                        that an~' }Jistol or other w~apOll or de,·ice mentioned in tl}is
                        act is unlawfun.\' possessed 01' carl'iedby aDS person, soeh
                        magistrate shall, if lIe be satisfi(ld' that there is reasonable
                        (-nuse to belie,'e the Illatters in said complaint be trne', issue
                        biB wat'J'unt directed to any peace OffiCeL", commanding biD) .to
                        f:eal'C'h the person or I)lace described in such compJain~ and
                        if such pistol, weapon 01' device be ,thel'e found; to seize and
                        hold the same as evidence of a yiolation of tbis act.
          Forfeited to
          state.
                            SEC. 14: All pistols, weapons or def'ices carried 01'-                  Pus-
                        Fe~~ed contrar," to this act are hereb,' declured forfeited to
                        the state.            .'                             .
          Certain          SEC, 15.        It shall be unlawful to ~eJ) OJ' delin~r within tlli.~
          books, etc.•
          unlawtul to state. or to off(~r 01- expose fo1' !'inIe, or to ha'-e in possession
          sell, etc.    for the Intl'pose of sale~ nn.}" book, J):lml}hJet~ ,circular, maga-
                       zine, newspaper or otlwl' fOJ'ln of written or I)rint.ed -matter
                       offering to Hell 01' d(IIi\'(~ ... OJ' eoutninillg an offelo to sen or
                       deJi\'er to any person \\'ithill thiN ~tah~ froln an~· I))ace without
                       1his stnte aUJ pistol or nn.'" wenpo!l or de\'j(oe mnntionej ill
                       (oJ(~ction thl'(~ hereof. 'rile lu'o"j"ioUM of t hiM se<~tion shan !I(\t
                       al)pJy to Hales of or off.-)'M to tUI)) pitolt()l~ nt wholt~le to ~r·
                       BOUt!' J'(~guhU'I~' enKnK(~d in t h(~ hUMiueMK of st') liul( [tl,u~h l)iMtOJS
                       at whole!i!n](~ 01' r(~1nil. UOl' to loluleM 01' off()I'~ to He'll ~U(·1t pi8tnJM
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                        IIWld j,. 11lt! d ifll('I'(~HnH ',f file ('UUI'1.



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                                       Pl:HLIC ACTS, JH27-Xo. :~7:j,
       -_._------ ----_ .._---------._-_.,_    _------       - --_ ..   _- - .--- - - - - - - - - - - - - -
           ~EI'. 17.        A..,( lUlJulipl' twu hltlHll'ed !'(~"PlJt\·-f()1J.. of the Acts
       I'll I )I ,Ie :lC't~ of.JIJtwteeu
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       thol1sa lid two IHIJlfh'('d til it,ty-six, lifh.Jell lIwtHolawI. two lUlu-
       dt'ed t hil'tY-l-ien~lI, tifh~(~11 tJHHlJo'aJld t\\'o htlu(h'cd thit,ty-(,j~ht,
       tift{J(J]l thOUHHud t\\'o hUHc)I'ed thiI'1y-uinc, Ufteeu tlwUJo':ltul two
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       dt'ed forty-thl'c(', fifteen thousaud two huudred forty-four,
       lifteell tJlotlstllHl two hundred fOl'ty-fi\"(~ <lnd fifteen thouM;lnd
       two huudred fnrt.r-six of the eOJnpiled )aw8 of nineteen hUll-
       dl'(~d fifteen; aet numher j Inee huudl'ed tllil-teen of the public
       aet!') of nineteen huu(h'ed twellt.r-th·{~; and fWCtiOIl sixteen of
       ehaptel' oue hundred sixty-two of tJ1f~ I'c,"jKed statutes of
       {~ightePII hundred fOI'1y·",ix, hpjng H(~~tjon fifteen thoufiJand six
       hundred fortJ*one of the eompiled lnw~ of nineteen hunur(,~
       fiftt~lJ, aloe bereby repealed: PrQI;';dctl.    lu)lcet'er, That 8nJ" Pro\"fso,
       l'l'Oeeedj!lg~ pending under uny of said        Hections berein l'e-
       }teaJed shaH not he a'l"ected hel'clJ,r !Jut Mllall be concluded in
       U('eor(]tt!lce with the law of ~ueh l'elwa)ed Hection or ~ctions.
          SEC. 18. This act is ded:n'ed to he Me"crahle, and 8hould Saving
       an.}' section hereof he bereafter deelared unconstitutional or clause.
       othel'wjse ill,oaIid, the )'(~nUlindel· of the act shall not      af-           i.e
       fected thereby.
          Approved June 2, 1927.



                                              [No. 373,]
       .AX ACT to amend section twentJ~-fh·e of chapter thir(,· of
         act nunJber tbree hundred fourteen of the public acts of
         nineteen hundred fifteen, entitled "~\n act to re,·ise and
         ('onsolidate the statutes relating to the organization and
         jurisdiction of the courtR of tbis state: the powers and
         duties of such courts, and of tile judges and other officers
         1hereof; the forms of civil actions; the time ,,·ithin ,,·bich
         civil actions and proceedingg ma.y be brought in said courts;
         Illeading, evidence, practice and procedure in ch·n actions
         and proceedings in said courts; to pro\"ide remedies and
         penalties for the viola tion of certain provisions of this act;
         and to repeal all acts and parts of acts inconsistent with,
         or contravening an~· of the pl'ovisiollS of this act.." being
         He(,~tion thirteen thousand two hundred fifts·three of the
         eOlnl,Ue() laws of nineteen hundred fifteeJl, as amended b.'"
         Lwt )lumber 1wo hundl'e(l fortJ-thr(~ of the 1)\lb1i(~ acts of
         JJirl(~tceJl hUlld.ted fre\'eflt(~n, and to ndd tl new secHon there·
         10 i () Htnnd ns sect ion thhtt:.v·one.

                  'ltlu) PCQl)le of tile State of Jliekigan etUlcf:
        Sr.:c'rJON 1.. Section twentJ'.fh-e of chapter thirt'y of aet Section
      number three hundred fourteen of the public acts of ninet~n amended.

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       corrected thereby, and shall be certified by the proper officers of
       the municipality as to authorization and by an engineer or surveyor
       as to correctness, and the signatures of such persons shall be
       acknowledged in like manner as a deed.
           Such plat or plats when so certified and acknowledged may be
       filed in the office of the register of deeds and the declaration thereon
       may be recorded at length in a "Book of Plat Certificates"; and
       when so filed and recorded such plat or plats and declaration to-
       gether with the record thereof shall be prima facie evidence in all
       matters shown or stated therein as to the lands covered thereby.
           This act shall not apply to a city whose charter provides for
       official supervision of plats by municipal officers, commission or
       boarc
          Approved April 10, 1933.




                        CHAPTER 189—H. F. No. 166
          An 'act to amend Mason's Minnesota Statutes of 1927, Section-
       7456, relating to renewal of corporate existence.
       Be it enacted by the Legislature of the State of Minnesota:
          Section 1. Publication of notices of renewal of corporate
       existence.—That Mason's Minnesota Statutes of 1927, Section
       7456, be amended so as to read as follows:
           "7456. No such resolution shall take effect until a duly certified
       copy thereof shall have been filed, recorded, and published in the
       same manner as its original-certificate. Provided, that in the case
       of a co-operative association, it shall not be necessary to publish
       said resolution."
          Approved April 10, 1933.




                        CHAPTER 190—H. F. No. 189
           An act making it unlawful to use, own, possess, sell, control or
       transport a "machine gun", as hereinafter defined, and providing a
       penalty for Ihe violation thereof.



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           232 .                     SESSION LAWS                           [Chap.

            Be it enacted by the Legislature of the State of Minnesota:
                 Section 1. Definitions.—(a) Any firearm capable of loading
             or firing automatically, the magazine of which is capable of holding
             more than twelve cartridges, shall be a machine gun within the pro-
             visions of this Act.
                  (b) Any firearm capable of automatically reloading after each
             shot is fired, whether firing singly by separate trigger pressure or
             firing continuously by continuous trigger pressure; which said fire-
             arm shall have been changed, altered or modified to increase the
             magazine capacity from the original design as manufactured by
             the manufacturers thereof, or by the addition thereto of extra
             and/or longer grips or stocks to accomodate such extra capacity,
             or by the addition, modification and/or attachment thereto of any
             other device capable of increasing the magazine capacity thereof,
             shall be a machine gun within the provisions of this Act.
                  (c) A twenty-two caliber light sporting rifle, capable of firing
             continuously by continuous trigger pressure, shall be a machine
             gun within the provisions of this Act. But a twenty-two caliber
             light sporting rifle, capable of automatically reloading but firing
             separately by separate trigger pressure for each shot, shall not be a
             machine gun within the provisions of this Act and shall not be
           .prohibited hereunder/ whether having a magazine capacity of twelve
           . cartridges or more. But if the same shall have been changed,
             altered, or modified, as prohibited in section one (b) hereof, then
             the same shall be a machine gun within the provisions of this Act.
                 Sec. 2. Application.—This Act shall not apply to sheriffs,
             coroners, constables, policemen or other peace officers, or to any
             warden, superintendent or head keeper of any prison, penitentiary,
             county jail or other institution for retention of any person convicted
             of or accused of crime, while engaged in the discharge of official
             duties, or to any public official engaged in the enforcement of law;
             nor to any person or association possessing a machine gun not
             useable as a weapon and possessed as a curiosity, ornament or
             keepsake; when such officers and persons and associations so ex-
             cepted shall make and file with the Bureau of Criminal Appre-
             hension of this state within 30 days after the passage of this Act,
             a written report showing the name and address of such person or
             association and the official title and position, of such officers and
             showing a particular description of such machine gun now owned
             or possessed by them or shall make such report as to hereinafter
             acquired machine guns within 10 days of the acquisition thereof;
             nor to any person legally summoned to assist in making arrests
             or preserving peace, while said person so summoned is engaged in
             assisting such officer; nor shall this Act apply to the armed forces
             of the United States or of the State of Minnesota.



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            Sec. 3. Machine guns prohibited.—Any person who shall
        own, control, use, possess, sell or transport a machine gun, as herein
        defined, in violation of this Act, shall be guilty of .a felony.
           Approved April 10, 1933.



                         CHAPTER 191—S. F. No. 336
           An act to amend Mason's Minnesota Statutes of 1927, Section
        646 relating to claims against counties.
        Be it enacted by the Legislature of the State of Minnesota:
            Section 1. Claims against county—appeal.—That Mason's
        Minnesota Statutes of 1927, Section 646, be amended to read as
        follows:
            "646. When any claim-against a county is disallowed by the
        board in whole or in part, a claimant may appeal from its decisions
        to the district court by causing a written notice of such appeal to
        be filed in the office of the auditor within fifteen days after
        •written notice mailed to said claimant by the county auditor show-
        ing the disallowance of said claim and giving security .for costs,
        to be approved by the auditor, who shall forthwith notify the county
        attorney thereof. When any claim against a county shall be allowed
        in whole or in part by such board, no order shall be issued in
        payment of the same_ or any part thereof until after fifteen days
        from date of the decision; and the county attorney may, on behalf
        and in the name of such county, appeal from such decision to the
        district court, by causing a written notice of such appeal to be
        filed in the office of the auditor within fifteen days after date of
        the decision appealed from; or any seven taxpayers of the county
        may in their own names appeal from such decision, to the district
        court by causing a written notice of appeal stating the grounds
        thereof to be filed in the office of the auditor within fifteen days
        after the date of the decision appealed from, and giving to the
        claimant security for his costs and disbursements to be approved by
        a judge of the district court; and thereafter no order shall be
        issued in payment of any such claim until a certified copy of the
        judgment of the court shall be filed in the office of the auditor.
        Upon the filing of such notice of appeal, the court shall acquire
        jurisdiction of the parties and of the subject matter, and may
        compel a return to be made as in the case of an appeal from a
        judgment of a justice of the peace.
           Approved April 10, 1933.



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                                      Va. Code Ann. § 18.2-288
                             Current through the 2023 Regular Session
Code of Virginia 1950 > Title 18.2. Crimes and Offenses Generally. (Chs. 1 — 13) > Chapter 7. Crimes
Involving Health and Safety. (Arts. 1 — 8) > Article 5. Uniform Machine Gun Act. (§§ 18.2-288 — 18.2-298)



§ 18.2-288. Definitions.


        When used in this article:
            (1) “Machine gun” applies to any weapon which shoots or is designed to shoot
            automatically more than one shot, without manual reloading, by a single function
            of the trigger.
            (2) “Crime of violence” applies to and includes any of the following crimes or
            an attempt to commit any of the same, namely, murder, manslaughter,
            kidnapping, rape, mayhem, assault with intent to maim, disable, disfigure or kill,
            robbery, burglary, housebreaking, breaking and entering and larceny.
            (3) “Person” applies to and includes firm, partnership, association or
            corporation.

History


Code 1950, § 18.1-258; 1960, c. 358; 1975, cc. 14, 15.

Code of Virginia 1950
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